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                           Estado Libre Asociado de Puerto Rico
                               Tribunal General de Justicia
                        Ojicina de Administracion de los Tribunales
                                   San Juan, Puerto Rico
                              CONTRATO DE ARRENDAMIENTO
                               CENTRO JUDICIAL DE CAGUAS

          ----------------------------------- COMPARECEN -----------------------------------­

          ---DE LA PRIMERA PARTE: La Oficina de Administl11cion de los Tribunalcs,

          una dependencia del Tribunal General de Justicia del Estado Libre Asociado de I'uelto

          Rico, cread" en virtud de la Ley Numero 20 I del 22 de agosto de 2003, nWnero de

           identificacion patronal XXX-XX-XXXX, representada en este acto por la Hon. Sonia

           Ivette Velez Colon, mayor de edad, casada, Jueza de Apelaciones can .funciol1cs

          administrativas par delegaci6n y vecina de Guaynabo, Puerto Rico, en su earacter de

          Direetora Administrativa de los Tribunales (en adelante denominada como la



  ~ ~A::~::~ND:~::::~;;~:=:~~:;~:-,-:.-:::~::
          bajo las leyes del Estado Libre Asociado de Puerto Rico, con numero identificaci6n

           patronal XX-XXXXXXX, representada en este acto por su Presidenta, Hilda Rodriguez

          Forteza, mayor de edad, casada, abogada y vecina de San Juan, Puerto Rico, cuya

          alliorizacion para compareeer en este acto surge de Certificaci6n de Resolucion

          Corporaliva que se haec formar parte de este conlrato como Anejo A (en adclante

          denominada como la "Arrendadora". ------------------------------------------------­

          ---AMBAS PARTES aseguran tener la capacided legal y representativa neccsaria

          para otorgar este eontralo de 3rrendamiento (en adelante denominado como el

          "Contrato de Arrendamiento"), as! como para ejecutar 10 aqui dispuesto, par 10

          que:----------------------------------------------------------------------------­
          -------------.------------------------- EXPONEN -------------------------­

          ---PRIMERO: El seis (6) de diciembre del aflo dos mil diez (2010) las partes aqui
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          comparecientes firmaron un Contrato de Desarrollo y Acuerdo de Arrendamiento

          del Nuevo Centro Iudicial de Caguas (en adelante "denominado como el "Contrato

          de Desarrollo"), donde se establecieron los terminos y condiciones aplicables al

          desarrollo, diseii..o, financiamiento, construcci6n, arrendarniento con opci6n a

          compra, administracion y operaci6n del Nuevo Centro Iudicial de Caguas (en

          adelante el "Proyecto"). Salvo que olra cosa se disponga expresa 0 implicitamente,

          las partes comparecientes acuerdan incorporar en este Contrato de Arrendamiento

          los tenninos y condiciones del Contrato de Desarrollo, disponiendose que de existir
                         ,
          algun conflicto entre las disposiciones de ambos contratos, regira en la

          interpretacion el Conlrato de Arrendamiento. Los terminos en letras mayusculas no

          definidos expresamente en este Conlrato de An-endamiento tendnin el significado




          Condiciones Precedentes, la Arrendadora se compromete a construir y la

         Arrendataria se compromete a arrendar las fucilidades del Proyecto.----------------­

         ---TERCERO: Las partes comparecientes reconocen y acuerdan que las

          Condiciones Precedentes del Contrato de Desarrollo han sido cumplidas. Ademas,

          reconocen y aceptan que, en conformidad con 10 dispuesto en el Contrato de

         Desarrollo, la Arrendadora ha decidido ejecutar la fase de desarrollo, disefio y

         construccion del Proyecto mediante un mecanismo "fast track", para asf completal'

         el mismo dentro del !tinerario de Desarrollo pactado. -----------------------------------­

         ---CUARTO: En consideracion a 10 antes expuesto, la Arrcndataria y la

         Arrcndadora, !ibre y voluntariamente, \levan a efecto este Contrato An'endamiento

         bajo los siguientes tenninos y condiciones. -----------------------------------------------­

                                           SECCION UNO (1)
                                            (EL PROYECTO)

         mScccion Uno Pnnto Uno (1.1) - Descripdon del Proyecto. Como parte del

         Proyecto      la     Arrendadora         se compromete,        entre    otras    casas,    a
                                                     2
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          desarrollor" disefiar y. construir: (~) un e.qifi,io de nueve ,(9) pisas de

          aproximadamente. trescientas cincuenta y tres mil dento sesenta y cinco punta

          veintiim (353,165.21) pies cuadrados, el cual albergara areas de salas, oucinas, y

          demas facilidades relacionados eon la operacion,de un Centro Judicial (en adelante

          dellominado como el "Edificio del Centro Judicial") y (b) un edificio de

          estacionamiento de cinco (5) pisos COn una cabid,a no menOr de trescientos

          veinticuatro mil cuatrocientos cincuenta y dos putltO cincueg.ta y cinco pies

          cuadrados (324,452.55 p2) Y con una capacidad no menor de mil ciento treinta

          (1,130) estacionamientos (en adelante denominado como el "Edificio de

          Estacionamiento"). Los pianos esquematicos .finales de los referidos edificios so

          hacen formal' parte del presente Contrato de Arrendamiento y se marcan como su

          Anejo n (en adeJante denominados como los "Planas Esquematicos Finales"): ----­

          ---Sccdon Uno Punto Dos (1.2) ",' Acccso al Proyecto.            La Arrendadol'll se

          compromele a construir, el acceso a las facilidades del Proyecto (en adelante e!

          "Acceso al Proyecto"), sustancialmente segun ilustl'ado en el plano quetbl'lna pal'te

          de este Contralo de Arrendamiento como Anejo n, para que el mismo sea dedicado

          a uso publico mediante la correspondiente cesion al Municipio Auwnomo de

          Caguas. ------------------------------------------------------------------------------­

          -----Seecion Uno Punta Trcs (1.3) "Titularidad. EI Proyecto sera desarrollado en

          llna parcel a denominada Pareela Centro Judicial, In cllal fue segregada de una

          parcel a de mayor cabida, bajo' la titularidad de la Arrendadora ublcada en la

          Carretera a Estatal PR # I, Esquina CalTetera Estatal PR #189, en el Barrio Bairoa

          del Municipio de Caguas, Puerto Rico (en adelante "Parcela Ramhil-A").               La

          Arrendadora adquiri6 la Parccla Ramhil-A mediante la Escritul'a Numero 27 de

          Segregaci6n Compraventa y Rectificacion de Cubida otorgada el 24 de mayo del

          2006 ante la Notru'io Publico Rebeca Caqu[as Mejias, la cual fue presentada pam

          inscripci6n al Asiento 261 del Diario 980 del Registro de la Propiedad de Cagua~,


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          Seccion Primera. ------------------------------------------------------------------------------­

          ---8cc oion pno Punto Cuatro (1.4) -.8egregacion de la Parcela Centro .Judicial.

          La Parcela Centro Judicial se segrego de la Parcela Ramhil-A mediante la Escritura

          N(unero Uno (I) de Rectificacion de Cabida, Segregacion, Liberaci6n y

          Reasignaci6n de Creditos Hipotecarios otorgada,el veintis"is (26) de abril del 2011

          ante el Notario ·Publico Ernesto Gonzalez Piffero. La Parcela Centro Judicial tiene

          una cabida aproximada de veintinueve mil trescientos uno punto veintitn!s sicte

          siete metros cuadrados (29,30.1.2377 m'). Se incluye como Anejo C un el Plano de

          Segregacion de la Parcela Centro Judicial. Una vez se complete la construccion del

          Proyecto, de ser necesario, el referido ~Iano de Segregacion sen, rectilicado para

          que refleje la cabida final exacta de la Parcela Centro Judicial. ------------------------­

          ---8eccion Uno Punto Cinco (1.5) - Objeto del Arrendarniento. EI arrendamiento

          a que se refiere este Contrato de Arrendamiento, en adelante denominado el "Area

          Arrcndada", incluye, la Parcela Centro Judicial, conjuntamente oon:.----------------­

          -----(a) EI Edificio del Centro Judicial y el Edificio del Estacionamicnto, a ser

          construidos mediante contratacion privada por la Arrendadora de acuerdo.con los

         pianos aprobados por la Arrendataria.               Los referidos edificios habnln de ser

         utilizados por la Arrendataria para alojar las facilidades del Nuevo Centro Judicial

          de Caguas y su estacionamiento, respectivamente. ---------------------------------------­

          -----(b) Cualquier servidumbre y/o derecho que beneficie a la Arrendadora sobrc

          fincas adyacentes por razon de la titularidad del Area Arrendada, que sean

          necesarios y/o incidentales a uso propuesto del Proyecto, en confonnidad con los

         pIanos aprobados para el Proyecto. ---------------------------------------------------------­

         -----(c) Cualquier derecho, titulo e inter"s propietario;' si alguno, que .pueda' tener la

         Arrcndadora sobre: equipo, mobiliario 0 accesiones que se utilicen para cl uso u

         ocupacion del ,Area Arrendada; as! como' los cambios, adicionales y mcjoras que

         de aqui en adelante se efectuen en el Area Arrendada, excluyendo uniciunente el


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          equipo telef6nico y cualquier equipo, mobiliario 0 accesiones que sean propiedad de

          o instalados por la Arrendataria. ----------------------------------------------------------­

                                             SECCION DOS (2)
                                           (LA CONSTRUCCIONl

          ---Seeeion Dos Punto Uno (2.1) - Comienzo de 13 Constroecion.                               La

          Arrendadora se compromete a comenzar la construcci6n del Proyecto den (TO de los

          cinco (5) dias laborables de la fecha de la ejeciIci6n del Contrato de Financiamiento

          o elIde junio de 20 II, 10 que ocurra primero (en adelante "Fecha de Comienzo de

          Construcci6n"). Para efectos de este Contrato de Arrendamiento, el comienzo de la

          construccian del Proyecto se define como el comienzo de las actividades ITsicas

          relacionadas con ej movimiento de telTenos. Las partes acuerdan que aunque- la

          Arrendadora comience la construcci6n del Proyecto sin que se haya ejeclltado el

          Contrato de Financiamiento, la Fecha de Comienzo de Construcci6n seguin'! siendo

          considerada para efectos del termino disponible para completar la construcci6n

          como la fecha en que se ejecute el Contrato de Financiamiento 0 el I de jllnio de

          20 II, 10 que ocurra primero.-----------------------------------------------------------------­

          ---Seecion Dos Punto Dos (2.2) - Construecion del Proyeeto. La Arrendadora

          construini y administrara el Proyecto de una forma continua, diligente y razonable

         hasta su terminaci6n y entrega, de conformidad con 10 establecido y requerido por

          las agencias reguladoras en el proceso de obtenci6n de los Permisos Requeridos y

         de acuerdo con los terminos y condiciones establecidos en el Contrato de Desarrollo

         y en este Contrato de Arrendamiento. -----------------------------------------------------­

         ---Seeeion Dos Punto Tres (2.3) - SlIbstnntinl Completion de la Consh'uecion del

         Proyeeto.      EI Proyecto se considerara completado sustancialmente (Substalliial

         Complelion) cuando se evidencie que las facilidades del Proyecto estan listas para

         ocupacian por parte de la Arrendataria mediante la correspondiente Certificacion

         de Substantial Completion por parte de los profesionales encargados de la

         constlUccian e inspeccian del Proyecto y           la   expedici6n      del   cOiTespondiente
                                                       5
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         penniso de uso por parte de las entidades coneernidas con jurisdicei6n (en adelante

         eI "Permiso de Uso"). -----------------------------------------------------------------------­

         --Seceion Dos Punto Cuatro (2.4) - Termino para Llegar al Substantilll

          Completion del Provceto. Salvo por Ia ocurrencia de eventos de Fuerza Mayor 0

         de eventos imprevistos que razonablemente no pudieron preverse por la

         Arrendadora y que afecten adversamente y retrasen In constl'1lccion del Proyecto,

          la Arrendadora se compromete a completar la construcci6n sustancial (Substantial

          Completion) del Proyecto en la feeha que oeurra primera de las siguientes: (a) en un

         tennino de treinta (30) meses, eontados a partir de 13 feeha en que se otorgue el

          Contrato de Finaneiarniento 0 el I de junio 2011, 10 que oetlrra primero; 0 (b) el 15

          de oetubre de 2013. --------------------------------------------------------.-----------­

         ·--Secclon Dos Punto Cinco (2.5) - Inspection de la Termination de In Obra.

         Luego que In Arrendadora solicite Ia aprobacion del certificndo de que In

         construcei6n del Proyecto se ha compIetado sustancialmente (Substantial

          Completion), la Oficina de lnspecci6n efectuara la inspeccion del Proyecto, La

         solicitud de aprobaci6n del certificado de que la construccion del Proyecto se ha

         completado sustancialmente (Substantial Completion) sera notificada n In Olicina de

         Inspeccion por escrito y pOl' COITeo certificado can acuse de recibo. La Olicinn de

         Inspeccion tendrll quince (15) dias laborables a partir del reeibo de dicha

         notificaei6n para rendir un informe eserito y enviarlo pOl' correa eertilieado can el

         acuse de recibo a In Arrcndataria y a In Arrendadora recomendando la aceptacion

         o e1 rechazo de que In construccion del Proyecto se ha completado sustancialmente

         (Substantial Completion),------------------------------------------------------------­

         --8i In Oficin. de lnspeccion recomiendn la aceptacion del Proyecto, la

         An'cndatarin cKpedira In Certificacion de Accptncion del Proyecto dentm de un

         periodo que no eKccdera de diez (10) dias. De no recomendarse 1a aceptacion del

         Proyecto y haberse expiredo el plazo para completar a tenninar la constl1lccion, la


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          Ofieina de Inspecci6n definini un plaza razonable para la correcci6n de los defectos

          senalados por dieha ofieina que impiden In aceptacion del Proyecto por parte de la

          Arrcndatllrill,    Una ve,:. expirado el tennmo establecido para eompletar la

          eonstrueci6n del Proyecto sin que este haya completado, se aplicara el pago a Gwor

          de la Arrendatllria de los Danos Llquidos establecidos por coneeplO de reu-a,o. ---­

          ---Se dispone que aquellos defeclos identificados en la lista de defectos 0

          correceianes (Punch List) que no impidan el usa del Proyecto y que sean

          debidamente idenlificados. por la Oficina de lnspeccion en .Ia Certificaci6n de

          Substantial Completion, no se consideraran como defeclos que impidun la

          aceplacian del Proyeclo. La Oficina de Inspeccian defini1'll 01 termino 0 terminos

          razonables para la correcei6n de dichos defectos. En caso de que la Arrendadora

          nO corrija los referidos defectos, la Arrcndataria procedera, a su discreci6n, a

          corregir las deficiencias y deducir, de forma razonable, del pago del canon de

          arrendamiento .1 costo de las correcciones, -----------------------.---~---------­

          --Seecion Dos Punto Scis (2.6) - Danus Liquidus por Retraso en 18 .Entreg". Si

          habiendo la. Arl'endadorll cornenzado la construcci6n del Prayecto, no pudie"e

          entregar el mismo para ser aceptado por la Arrcndataria dentm del termino

          dispuesto en esle Contrato de Arrendamiento, sin que se justifique su retraso por

          alguna de las razones establecidas en el presente Contrato de Arrendamiento y se

          sornets evidencia y documentaeien a tales efectos, la Arrendadora pagara a In

          Arrendataria por coneepto de dalios liquidos debido, tinica y exclusivarncnle, a

          dicho retraso en la entrega la cantidad estipulada de mil d61ares ($1,000.00) diaries

          (en adelante "Danos Liquidos"). Los Dailos Liquidos son en adieien a cualquier

          otro rernedio no monetario que la Arrcndataria tenga disponible en vh'llld del

          Contralo de Desarrollo y esle Contralo de Anendamiento par coneepta del retraso

          de la Arrendadora en la entrega del Proyeclo.-------------------------------------------­

          ---Seeeion Dos Punto Siete (2,7) - Trllnsmisi6n de la Posesion. La fecha·de la

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         Iransmision de la posesion del Area Arrendada sera cuando la Arrendmlora

         entregue a la Arrendataria el Permiso de Usa para la ocupacion de las facilidades

         del Proyecto expedido par las enlidades concernidas can jurisdicci6n.-----------------­

         ---Secci6n Dos Punta Ocho (2.8) - Mcdidas de Seguridnd. A la fceha de la

         entrega a la Arrendataria del Permiso de Usa. la Arrendatllria vendni obligada a

         cumplir can las medidas de seguridad y salud publica que tenga a bien recomendar

         el Servicio de Bomberos de Puerto Rlco. el Departamento de Salud y cI

         Departamento del Trabajo, as! como toda ley u ordenanza. requerimiento, orden a

         disposici6n aplicable al Area Arrendada. Can posteriori dad a la expedicion del

         Penniso de Usa. la Arrendataria asumini la obligacion de cumplimiento con

         dichos requerimientos. excepto aquellas disposiciones de ley que requieran realizar

         cambios estructurales y arquitectonicos a aquellos aspectos que tengan que Ver can

         el mantenimiento u operacion del Area Arrendada. los que seran responsabiIJdad

         de la Arrendadorn.----------------------------------------------------------------------­

         ---Seccion Dos Punta Nuevc (2.9) - Conclusion Final. Pam fines de este Contrato

         de Arrendamiento se define el lermino "Conclusion Final" como la fecha en que

         todas Ia obras dispuestas en el listado de casas que faltan par haeer a con'egir

         (Punch List) que la Arrendataria cnlregue segun 10 dispuesto en este Contralo de

         AITendamiento hayan sido realizadas a enlera satisfacci6n de la Arrendataria. ----­

         --·Seccion Dos Punta Diez (2.10) - Plano de Mensura Final. Una vez completada

         la construccion del Proyecto, la Arrendadora (de ser necesar<io <par existir

         varlaciones en cuanto a versiones anteriores del Plano de Mensura). preparara y

         sometera a la Arrendataria Un nuevo plano de mensura actualizado y rectificado

         (en adelante el "Plano de Mensura Final"). La cabida de la Parcel a Centro Judicial

         que surja del Plano de MensuraFinal asi como sus !inderos deberan ser

         sustancialmente similares 13 cab ida y linderos dispuestos en <el Contrato de

         Desarrollo y este Contrato de Arrendamiento. No obstante, las partes reconocen que

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          la cabida y linderos de las parcelas de terreno mencionadas en el Contrato de

          Desarrollo y en este Contrato de Arrendamiento, incluyendo las de la ParcelaCentro

          Judicial, pueden variar moderadamente y que dichas variaciones son tipicas y

          aceptables en desarrollo de la magnitud del Proyecto, por 10 cual las miSlllas nO

          constituyen ill constituinin un incumplimiento can los terminos y condiciones del

          RFP, del Contrato de Desarrollo ni el Contrato de Arrendamiento.-~------------------

         --Seeeion Dos Punta Once (2.11) - Planas de Construeciiin As Built.                    La

          Arrendadora preparani a su costa y entregara a la Arrendataria dos juegos de los

          PIanos Finales del Proyecto segun construido, uno de estos en formato impreso

          (hard copy) y otto en formato digital (en adelanta denominados como los "Planas

         As Buill"). --------------------------------------------------.---.-----------­

          ---Seecion Dos Punta Dace (2.12) - Garantfas. La Certificaci6n de Aceptaci6n del

           Proyecto dara paso para el iniei'o de todos los terminos para las garantias, segun 10

          dispuesto en el C6digo Civil de Puerto rueo y los reglamentos aplicables.----------­

          ---Seccion Dos Punta Treec (2.13) - Costas y Gastos de Desarrollo                      V


          Construecion. La Arrendadora sera la {mica responsable por el pago de todos los

          costas y gastos del desarrollo, dise£lo y construcciiin del Proyecto. -.---------.-----­

                                          SECCION TRES (3)
                                            INSPECCION

         --Secci6n Trcs Punta Uno (3.1) Inspcccion Durante 13 Constmecion del

         Proyeeto. Durante la Case de Ia construccion del Proyecto, la Arrendadora estara

         representada frente al contratista que est'; a cargo de Ia construcci6n del Proyecto,

         por un ingeniero inspeetor, quien podni. tener bajo su responsabilidad a ottos

         ing.nieros y/o profesionales (en adelante denominada como la "Oficina de

                  .. ").•---,-.--••----••••••-----..----------------------------------­
         I nspecCIOI1

         --Soccion Tres Punta Dos (3.2) - Ofieina de Inspcecion.                  La Oficina de

         Inspecci6n velani. porque la construcci6n del Proyecto se reallce segun los PIanos

          Finales y los terminos y condiciones del Contrato de Desarrollo y esle Contrato de
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          Arrendamiento. La Arrcndadora seleccionani la Oficina de Inspeccion y notificani

          oportunamente sobre diche seleccion a la Arrendataria. Dicha notificacion seni

          acompatiada por documentos e informacion que acreditcn la capacidad profesional y

          operacional de la entidad scleccionada para la inspecdon asi como su experiencia en

          la inspeedon de proyeetos simi lares al Proyecto, los recursos que destinara al

          mismo as! como e! equipo de trabajo a cargo de los Irabajos de inspeedon. Una vez

          notifieada la seleceion de la Oficina de Inspeccion ala Arrendataria, <!sta tendn\ un

          te,mino de diez (l0) di.as para presentar a la Arrcndadora justificacion suficiente

          sobre deficiencias en la capaddad, canicter y reputaci6n de la Ofieina de Inspecei6n

          propuesta, que justifiquen que la misma no sea seleccionada como Oticina de

          Inspeccion para el Proyecto.    De no haber objeci6n a la Ofieina de Inspeccion

          propuesta, esta podra comenzar a ejecutar sus fundones rranscurrido el termino de

          diez dins desde [a notificaci6n de su se[ecci6n por parte de In Arrcndadora. De

          haber alguna objecion fundamentada, In Arrcndadora debeni seleceionar una nueva

          Oficina de Inspecci6n. La Arrendadora pagani los servici05 a 5er prestados por ia

          Oficina de Inspecci6n. La Oficina de Inspecci6n yendra ohligada a mantener a In

          Arrendadora y la Arrendataria al tanto del ayance del Proyecto, a traves de In

          emisi6n de informes de progreso y ejecuci6n mensuales. -"---"---------------------­

          --Seccion Tres Punto Tres (3.3) - Represcntantes de las Partes Durante III

          Construeci6" del Proyecto.          Durante .Ia construcci6n del Proyeeto, [n

          Arrendadora y la Arrcndataria designaran cada una persona una persona [a eual,

          a su nombre, estani a cargo tramitar, cnviar y recibir todas [as notificaciones,

          aprobaciones, comunicaciones, pianos, especificaciones y otros materiales y

          documentos requeridos 0 pennitldos para ser enviados y recibidos de confol'midad

          con el Contrato de Desarrollo. En adelante se denominan al representante de la

          Arrcndadora y el representante de la Arrendataria como el Represenlante de la

          Arrendadora y el Representante de la Arrcndataria, respectivamente.            Dlcha

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          designacion de los representantes se mantendnl vigente durante todo el desarrollo

          del Proyecto, salvo que la misma sea modificada, previa notificaci6n escrita poria

          parte correspondiente. EI eontaclo 0 enlace principal de In Oficina de lnspeccion

          con la Arrcndadora sera el Representante de la AlTendadora y el conlacto 0 enlace

          principal de la Oficina de Inspeccion con la Arrcndataria sen! el Representante de

          la Arrendataria. .A solieitud de la Arrcndataria, la Arrcndadora proveera espaeio

          de oficina can aire acondicionado y telefono asi como accesa al sal6n de reuiliones

          y banos, en las instalaeiones de oficina de construcci6n del contratista n cargo de la

          construcci6n del Proyecto 0 de la Ofieina de Inspecci6n. ----------------------------­

                                         SECCION CUATRO (4)
                                        (ORDENES DE CAMBIO)

          ---Scccion Cuatro Punto Uno (4.1) Cambios ylo Modificacioncs Solicitados por

          la Arrendataria. Para efectos del Contl'ato de Desarrollo, as! como este Contrato de

         Arrendamiento, se considerara una Orden de Cambio de la Arrendataria, cualquier

          l'equerimiento   0   solicitud de la Arrcndataria que conlleve un cambio a

          modificaciones en los Pianos Finales del Proyecto debidamente aprobados por la

         Arrendataria, y que a su Vez conlleven un aumento en los costas de la construcci6n

         del Proyecto 0 un aumento en el tiempo de construccion (en adelante In "Orden de

         Cambia de la Arrendataria"). ----------------------------------------------------------------­

          ---Las Ordenes de Cambia de la Arrendataria se sometenin pOl' escrito, siguiendo

          las practicas de la industria de la construccion en Puerto Rico.------------------------­

         ---Toda Orden de Cambio de la Arrendataria debe ser tramitada a (I'aves del

         Representante de la Arrendadora y el Representante de la Arrendatada,

         recomendadas por la Oficina de Inspecci6n. y revisadas. aUlorizadas y firmadas en

         el caso de Is Arrendataria par la Directora Administrativa da los Tribunales 0 In

         persona a guien esta delegue y, en el casa de la Arrendadorn, p~r el Sr. Carlos

         Gonzidez Morales 0 la persona en quien este delegue. ----------------------­

         ---No senin considerados Ordenes de Cambio de la Al1'endataria, los crunbios 0
                                                      II
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          modificaciones solicitadas, por cualquier motivo, par la Arrendadora. Se aclara

          que aunque dichos cambios a modificaciones solicitadas par Ia Ar"cndadora,

          debenln ser revisadas y aprobadas por Ia Arrendataria, las misnias constituiran

          6rdenes de cambio entre la Arrendadora y.su contralista a cargo de la construccion

          del Proyecto. ------------------------------..~--------------------------------~-------

          --Seccion cuatro Punto Dos (4.2) - Tiempo Adicional de Construccilin I)ebido 1I

          Ordenes de Cambio de In Arrendataria. La Arrendadora y Ia Arrcndatllria

          detenninaran de comun acuerdo el pla:w de tiempo adicional de construccion, de ser

          este necesario, para efectuar los camblo.s 0 modificaciones requeridos a traves de

          una Orden de Cambia de la Arrendataria. La Arrendataria asumin\ los costas

          adicionales que incum la Arrendadorn debido a las 6rdenes de Cambia de 10

          Arrendataria, ------------------------------------------------------------------------.. ---~

          ---Secci6n Cuntro Punto Trcs (4.3) - Pago de las Ordenes de Cambio de la

          Arrendataria. La Arrendatarin asumini eI aumento en costa que resuite de las

          Ordenes de Cambia de la An'endataria, ejerciendo una de las siguientes opeiones:-­

          -----(3) Pagando eI costa de las Ordenes de Cambia de la Arrendatal"ia contra

          certificaciones debidamente expedidas par eI contratista y aprobadas par la Oficina

          de Inspecci6n, a ---~-------------------------------------------.----------------------

          -----(b) Para aquellas 6rdenes de Cambia de 13 AlTendataria que por 51 salas a

          conjuntamente sumen cien mil d61ares ($100,000.00) a mas, mediante un aumcnto

          en el Canon de AlTendamiento, ---------------------------------------------------------­

                               SECCION CINCO (5)
                  (ARRENDAMIENTO Y TERMINO DEL ARRENDAMIENTO)

          -Secci6n Cinco Punto Uno (5.1) - El Arrendamiento. La Arrendadora

          mediante el presente Contrato de Arrendamiento cede en atTendamicnw a la

          Arrendatar!a e1 Area Arrcndada.-----.--------------------------------------------­

          --Seecion Cinco Punto Dos (5.2) - Termino del Contrato de Arrcndamicnto. EI

          termino de vigencia del Contrato de Arrendamiento sera de treinta (30) anos,
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          contados a partir de la fecha de la entrega a la Arrendataria del Permios dc Uso (en

          adelante la "Fecha de Comienzo del Arrendamiento"). Se establece que cl tennino

          "ano de an-endamiento" comprendenl doce (12) meses calendario consecutivos.----­

                                       SECCION SEIS (6)
                                  (CANON DE ARRENDAMIENTO)

          ---Secci6n Scis Punto Uno (6.1) - Canon de Arrcndamiento.                 EI canon de

          alTendamiento sera de un millCm cuatrocientos ochema y ocho mil seisci!lIltos

          diecisiete d6lares can sesenta y UI) centayos ($1,488,617.61) mensuales (en adelante

          el "Canon de Arrendamiento").            EI Canon de Arrendamiento Incluye el

          arrendamiento del Edifieio del Centro Judicial y del Edificia de Estaciona.uiento asl

          como los gastos relativos a las siguientes partidas: (a) seguros del Edificio del

          Centro Judicial ; (b) contTibudones sobre la propledad a base del primer l-eclbo que

          se emita a los efectos, eontemporaneo can la expedicion del permiso de usa

          (cualquier aumento en esta partida corresponde ser sufragado poria Arrcudataria)

          y (c) el mant.enimiento, reparacion y operacion de las Areas Publicas del Edificio

          del Centro Judicial, segUn descrito mas adelante en esle Contrato de Arrendamiento.

          ----Seccion Seis Punto Dos (6.2).        Comienzo de I.. Obligaci6n de Pngnr el

          Canon de Arrendamiento. La obligaelon de la Arrenda!.. ria de pagar el Canon

          de An'endamiento mensual paetudo en este Contralo de Arrendamiento comienzu en

          la Feeha de Comienzo del Arrendamiento, es decir, en In fceha de la en!rega a la

          Arrendatari.. del Penniso de Uso.---------------------------------------------------.-­

          ---Sccei6n Seis Punto Tres (6.3) - Aiuste al Canon de Arrendamieillo por

          Variacioncs en In Cabida del Edificio del Centro Judicial.               EI Canon de

          Arrendamiento de un millon cuatrocientos oehenta y oeho mil selscientos dieeisiete

          d61ares y sosenta y un centavos ($1,488,617.61) se ha paclado tomando en

          consideracion, enlre otras cosas, que a la fecha de la firma de este Contrato de

          Arrendamiento y, a tenor con los PIanos Esquematieos Finales que se hacen formal'

          patte del mismo como su Ancjo B. el Edificio del Centro Judicial consta.-a de
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          trescientos cincuenta y tres mil dento sesenta y cinco punto veintiun (353,165.21)

          pies cuadrados.    Sin embargo, de ser necesario, a In Fecha de Comienzo del

          Arrendamiento el Canon de Arrendamiento se ajustara a razen de treillta y dos

          d61ares con ochenta y cinco centavos ($32.85) por pie cuadrado del Edificio del

          Centro Judicial, dependiendo del area final de dicho edificio. Es decir, si el area del

          Edificio del Centro Judicial resulta ser mayor de trescientos cincuenta y tres mil

          ciento sesenta y cinco punto veintiun (353,165.21) pies cuadrados; se Ie afiadini al

          Canon de Arrendamiento de un mill6n cuatrocientos ochenta y ocho mil seiscientos

          diecisiete d6Iares y sesenta y un centavos ($1,488,617.61) una suma mensual

          adicionaI equivalente a la duodecima parte del producto del aumento del area en

          pies cuadrados y treinta y dos d61ares con ochenta y cinco centavos ($32.85). Si por

          el contrario, el area del Edificio del Centro Judicial resultara menor de trescientos

          cineuenta y tres mil ciento sesenta y cinco punto veintilm (353,165.21) pies

          cuadrados, se sustraeni del Canon de Arrendamiento de un mill6n cuatrocicntos

          oehentay ocho mil seiscientos diecisiete" d6lares y sesenta y un centavos una stlma

          mensual equivalente a la duodecima parte del prodtlcto de la disminuci6n del area

          en pies cuadrados y treinta y dos d6lares con ochenta y cinco centavos ($32.&5). ---­

          ---Secci6n Seis Punta Cllatro (6.4) - Incl"cmentos "I Canon de Arrendamiento.

          Lucgo de lranscul"rido un termino de diez (10) anos desde la F ceha de Cornicnzo del

          Contralo de An'endamiento, las partes renegocianin un incremento en el Canon de

          Arrendamiento, el cual no excedera de un diez pOl' ciento (10%).             Luego de

          transcurrido un termino de velnte (20) ailos desde Ia Fecha de Comienzo del

          Contralo de Arrendamiento, las partes renegociarim un segundo incremento en el

          Canon de Arrendilmiento; el emil no excederA de diez par ciento (10%) del Canon

          de Arrendamiento vigente a dicha fecha. EI Canon de Arrendamiento acordado

          permaneceni inalterado par cada periodo de diez (10) anos, salvo los ajustes en In

          partida del componente operacionaJ debido a aumentos en eI salario minima federal


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          y/o cuaJquier legislacion municipal, estatal 0 federal aplicable. --------------.------­

          --Becci6n Seis Punta Cinco (6.5) _ Modo de pago del Canon de Arrendllmiento.

          E1 Canon de Arrendamiento sera.pagadero porIa Arrendalaria a la Arrcndadora

          en mensualidades vencidas por 10 que los pagos mensuales se efectuaran el (Iltimo

          dia de cada meS calendario, comenzando al finalizar el mes en que la Arrendataria

          acepte el Area Arrendada. 8i el tennino del Arrendamiento comienza un dla que

          no sea el primer (1 ") dta del mes en curso,. el Canon de Arrendamiento habra de SCI'

          prorrateado esc mes POl' e1 numero de dias cont_dos desde la Fecha de Comienzo del

          Contrato de Arrend_miento basta el primer (I") dia del proximo meso De est_r

          disponible en algun momento durante la vigencia del presente Contrato de

          Arrendarnienlo el pago pOl' medio de transferencia electronica, las partes

          manifiestan que esta sera la manera preferJda de efectuar los pagos del Canon de

          Arrendamiento, Siljeto a la adopcion de un procedimiento de seguridad                  0


          indemnizaciones que resulten necesarias para protegeI' a las partes contra perdidas.­

          --Seccion Seis Punto Scis (6.6) - Inclusion del Canon de Arrendamiento cn

          Prcsupuesto de la Arrcndntaria. La Arrcndataria se obliga y se compromete a

          incluir en su presupuesto anual, durante cada ailo de vigencia del Contrato de

          Al'l'endamiento, lIna partida especifica para cubrir las obligaciones inclllTidas bajo

          este Contrato de Arrendamiento y a solicitar anualmente fondos suflcientes para

          ello. -----------------------------.--------.-----.----.---------------------------­

          ---Seceion Seis Punto Sicte (6.7). Elementos de In Consideraci6n del Canon de

          Arrendamiento.        Las partes comparecientes reconocen que eJ Canon de

          Arrendamien\o se ba pactado en consideraci6n de las obligaciones de la

          Arrcndadora de planificar. desarrollar. disefiar, financial', construir, operar y

          mantener el Proyecto de acuerdo con las disposiciones del Contralo de Desarrollo y

          este Contrato de Arrendamiento, segun 10 requerido poria Arrendataria, y IislO

          para su uso (Buill to Suit), incJuyendo las mejoras de In Arrendataria al Area


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          Arrcndada, asf como en consideraci6n al traspaso del Area Arrendada a favor de In

          Arrendutaria par el precio convenldo de un d61ar ($1.00), luego del termino de

          treinta (30) afios de este Contrato de Arrendamiento.-----------------------------------­

                                  SECCION SlETE (7)
                   (INSClUPCION DEL CONTRATO DE ARRENDAMlENTO)

          ---Secci6n Siele Punta Uno (7.1) - In"cripdon del Contralo de Arrcndamiento.

          La Arrendataria se reserva el derecho de inscribir en el Registro de la Propiedad el

          derecho de arrendamiento constituido bajo el Contrato de Arrendamiento, mediante

          18 conversi6n del Contrato de Arrendamiento en escritura publica. Dicha escritura

          publica serii otol-gada y presentada en el Registro de la Propiedad a solicitud de la

          Arrendatnria.      De ser necesario otorgar un acta de edificaci6n previa a In

          inscripci6n del Contrato de Arrendamiento en el Registro de la Propiedad, In

          Arrendadora consiente al otorgamiento de dicha escritura.              La Arrendataria

          seleccionani el notario y pagarii sus honorarias, al igual que los sellas y

          cornprobantes a cancelarse para la inscripci6n de su derecho de arrendarniento as;

          como de cllalquier acta de edificaeion y/o cualquier olro instrumento que sea

          necesario 0 incidental para la inscripei6n de su derecho de arrendamiento. --------­

                                     SECCION SlETE (8)
                              REPARACIONES V MANTENIM1ENTO:

          ---Secci6n Ocho Punto Uno (8.1) - Definicion de Reparacion, Mejo!"" y

          Mllntenimicnto.      Para los fines de "este contrato las partes aeuerdan que los
          siguientes renninos se definen como sigue: _________________c_____________________________

          -----Reparaci6n: EI acto de conservar y/o subsanar el desgaste y deterioro natural

          ocasionado par el uso nonnal del Area Arrcndada a los fines de manteneda en

          condiciones para el uso al eual ha sida destinada. lncluye la substituci6n de equipo

          que fuera instalado por la Arrendadora originalmente y/o materiales del Area

          Arrendada por otro de igual naiuraleza, especificaciones y calidad. -----------------­

          m--Meiora: El acto de rnodificar el Area Arrcndada aumentendo el valor; el


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          espacio utilizable yl ola capacidad de rendimiento de esta .•••• ------------------..-•••­

          ·----Mantenimiento: EI acto de proveer adecuada limpieza, servicios de conserjes y

          cuidado diario de las areas publicas del Area Arrclldada de manera que esten en

          buena. condiciones para su usa.          EI mantenimiento incluir" ademas todos los

          arreglos y reparaciones a los que se haec referencia en la Scccion OcllO Punto Dos

          (8.2) de este Contra to de Arrendamiento.·-------------·--------------------·------­

          ___ Seccion Ocho Punto dos (8.2) _ Reparacioncs. Mantcnimiento.                           La

          Arrcndll<lora se obJiga durante la vigencia de este Contrato de A1Tendamiento a

          .efectuar
             ,
                    las reparaciones del Arca Arrendada para conservar esta en condiciones

          utilizables. Adicional a esto, la Arrendadora se obliga a dar mantenimiento de las

          areas publicas del Area Arrclldada y a mantener en funcionamiento todos sus

          servicios, equipos y accesorios dentro de las normas de salud y seguridad aplicables,

          incJuyendo:--------------------------------------------------------------------------------­

          --------( 1) Las entradas 0 .accesos, corredores, areas de estacionamienlo, de servicio,

          salones de sesiones, escaleras pl,blicas. banos publicos y pasillos publicos del Arca

          Arrendada.-------·-----------------------------------------------------------------­

          -------(2) El exterior y 18 estruclUra del Area Arrendada. ----------------------------­

          --------(3) Las paredes interiores, techos, pisos, puertas, venlanas y pinnlfa slempre

          que el mantenimiento 0 reparaciones sean motivadas por el deterioro flsico natural 0

          a causa del mal tlempo; por defectos en la construcci6n 0 de instalaciones

          derectuosas ocunidas durante e! mantenimiemo 0 reparacien 0 posteriormcnte y

          siempre que las mismas hubiesen sido hechas poria Arrcndadora. ----------------­

          -------(4) Los sistemas de plomerla y caneda sanitarias, el sistema electrico y de

          i1uminaci6n, cistema'Y de planta de electricidad de emergeneia a ser provistas por In

          Arrcndadora.    ---------------------------------------------------.-.7---------·------­
          -------(5) EI sistema de ascensores. ------------------------------------------------­

          --------(6) Los sistemas de aire acondicionado central. Diehos sistemas debenill


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          cumplir con las especificaciones descritas en los PIanos Finales. --------------------­

          -------(7) Delectores de Metales. La Arrcndadora haee expreso reconocimienlo

          que provecra los detectores de metale. con su respectivo servido de mantenimiento

          y que los mismos estanin en funciones al momento en que 01 Centro Judicial

          comience a brindar servicio al publico. ---------------------------------------------­

          -----La reparaci6n de cualquiera de los equipos 0 la prestaci6n de los servieios de

          mantenimiento mencionados en esta Secci6n debera ser contratada u ordenada por

          la Arrcndadora en el termino de Ires (3) dias laborables a partir de la notificaci6n

          por parte de la Arrcndataria. En cuanto aI equipo relacianada con la seguridad del

          edificio, la Arrcndadara provecni especial alencion en que estos se encuentren en

          optimas condiciones. En casu de desperfectos 0 problemas que impidan 01 uso del

          Area Arrcndada, 0 que comprometan la seguridad del tribunal, las reparaeiane.

          deberan ser contratadas u ordenadas por la Arrendadora en 0 antes del siguiente

          dia laborable. Transcurrido este periodo, la Arrcndataria podni gestionar y

          contratar tales reparaciones reduciendo del componente operacional                  0   de

          mantenimiento del canon mensual de renta el costa de las mismas. -----------------­

          --Sceci6n Oeho Punto Trcs (8.3) - Area publieas.                   Las Arcas l'ublicas

          comprenderan toda porci6n del Area Arrendadll a la eual tenga acceso el publico y

          en las cuales se Ie de servicia al mismo, incluyendo los Salones de Sesiones. -------­
                                          "

          ----Aroos Privadas. Las Areas Privadas serm todas las demas areas dentro del

          Area Arreodada que no puedan ser clasificadas como Areas Publicas segun In

          definicion antes provista. --------------------------------------------------------------­

          --- Seeci"n OcJlO Punto Cuatro (8.4) - Pago de Servicios. En el caso de que la

          Arrendataria advenga en la necesidad de enviar alguno de sus agenles 0

          empleados(as) para resolver problemas 0 desperfectos que son de responsabilidad

          de la Arrcndadora, la Arrendadora se obliga a pagar la cuantia que correspond a

          por la utilizacion de ese empleado, entiendase las horas trabajadas, dieta, millaje y

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          cualesquiera otros gastos en· los que la Arrendataria pueda incurrir. Esta cuantla se

          descontara .de la partida del componente operacional a de mantenimiento del Canon

          de Arrendamiento y se hani la anotaci6n correspondiente .•············------------·---­

          --Seccion Oeha Punto Cinco (8.5) - Interrupci6n de Scrvicios.                        Ln

          Arrcndadora, durante la vigeneia de este Contrato de Arrendamiento, y previa

          notificaci6n a In Arrendataria, tendrli aceeso a, y podra interrumpir 0 suspender.

          par un termino de ticmpo razonable. el servicio de los sistemas mecaniCQs y

          electricos del edifieio cuando sea requerido porraz6n de mantcnimicnto ordinaria y

          reparaciones de emergencia. De oeurrir csta situaci6n. no se emenderan afcctadas 0

          reducida ningunas de las obligaciones contr.idas por la Arrendataria bajo esle

          Contrato de Arrendamiento. Disponiendose que tam poco se suspendcran las

          obligaciones de ningun. de las partes bajo este Contrato de A'Tendamiento par

          razon de fallas esporadicas en el sistema de energ!a electrica que no obedezcan a

          defectos del sistema; reparaciones, cambios 0 mejoras necesarias 0 dificultades para

          reaHur las mismas ocasionadas por escasez de materiales y/o de mano de obrn que

          no sean producidas por el contratista 0 la Arrendadora; 0 cualquier otm callsa

          fuera del control de In Arrendadora. Cualesquiera reparaeiones 0 mejoras que

          efecroe la Arrcndadora seran de primera cali dad de tal suerte que garamicen la

          mejor utilizaei6n por I. Arrends taria del Area Arrendada. La Arrendadorn

          designara a Una persona encargada que este accesible en el Arca Arrcndada para

          recibir aquellas notificaciones 0 requerimientos de la Arrendataria. que pueda

          actoor con prontitud y hacerse cargo de las reparaciones a las que se ohliga la

          Arrendadora mediante este Contrato de Arrendamiento. --.-••-----------.-•••• -.•----­

          ---Seeeian Oeho Punto Seis (8.6) - Responsabilidad de 13 Arrelldataria par

          Cjertos Gastos: La Arrendataria respondera por 01 pago de las reparaciones que

          segun este Contrato de Arrendamiento corresponden a la Arrelldadora. 8i las

          mismas SOn ocasionadas debido a los actos u omisiones negligentes de los agentes 0

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          empleados de la Arrendataria.---------------------------------------------------------­

          ---Seecion Oebo Punto Sietc (8.7) - Mejoras. La Arrcndataria podnl efeetuar, a

          su costa, las mejoras al Area Arrendada, pudiendo contra tar para ello a In

          Arrendadora 0 a cualquier otra persona 0 entidad debidamente cualificada y

          autorizada par la Arrcndadora. En todo caso en que las mejoras no sean efectuadas

          par In Arrcndadora, se requerira la previa aprobaci6n de este de los pIanos de In

          mejora propuesta, euya aprobacion no podre ser denegada razonablemente.---------­

          ---Seccion Oeho Punto Ocho (8.8) - Utilidades. La Arrcndadora instal art' las

          facilidades de los servidos piiblicos a ser usados par la Arrendataria tales como

          agua. aleantariUado. electricidad, combustible y las bandejas de los cables de

          telUonos (telephone cable trays), de acuerdo con los requisitos en los Planas

          Finales asi Como las         regIas y reglamentos de la compania privada              0


          instrumentalizad publica que provea dichos servieios. Ademas, la Arrendadora se

          encargara de coordinar el sup lido a la Arrcndatarill del combustible necesario para

          operar los equipos de emergencia (generadores, bombas incendio y etc.), con I.

          debida coordinaci6n del Director Ejecutivo Regional de la Arrendataria. quien a su

          vez certificaffila prestacion del servicio. Se aelara no obstante que la ArT.ndataria

          tendre a su cargo el pago del combustible asi como OlrOS cargos aplicables

          relacionados con el suplido del mismo .-----------------------------------­

          ---Se.cion O.bo Punto Nueva (8.9) - Pago de Utilidades. La Arrendataria

          tend"i ~ su cargo los pagos por los servicios de electricidad. agua, alcantadllado

          sanitaria, gas, combustible, telMono y olros servicios amilogos incluyendo el pago

          de cualquier deposito requerido para ello. La Arrendataria !ambien tend,,\ • su

          cargo los pagos par los servicios de recogido de basura asf Como la limpieza y

          fumigaci6n de las Areas Privadas, ineluyendo el pago de cualquier deposito

          requerido para ello. La Arrendataria tambien tendl'a a su cargo el pago par

          combustible necesario para operaI' los equipos de emergenc!. (generadores. bombas

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          incendio y elc.). siempre y cuando la falla en la electricidad no sea atribuible a la

          Arrendadora.------------------------------------------------------------­

          --- Scccion Oebo Punto Dicz (8.10) - Interrupcion de Scrvicios de Utilidadcs.

          La Arrcndadora no sera responsable ni se enlendera que ha incumplido el presenle

          Contrato de Arrendamiento por razon de interrupcion de cuaJquiera de los servicios

          aqu! mencionados. siempre y cuando dicha intenupcion no sea atribuible a aetas de

          Ia Arrendadora 0 al incumplimiento de cualquiera otra de sus obligaciones bajo

          los tenninos del presente Contrato de Arrendamiento. ----------------------------------­

                                        SECCION NUEVE (9)
                                    (CONDICIONES ESPECIALES)



 Il
          -Seccion Nueve Punto Uno (9.1) - La Arrendadora y la Arrcndataria acuerdan

          las slguientes eondiciones.especiales:------------------------------------------­

          -----(1) En caso de que la Arrendataria 0 la persona en quien <!sta delegue no se

          encuentre disponible para pennilir eI acceso al Area Arrendada a Ia Arrcndadora

          esta, por si 0 a tra ves de sus representantes autorizados podra entrar a.la mis!lla para

          realizar reparaciones de emergencia 0 t9mar cualquier medida que sea necesaria y

          que no conflija con 10 dispuesto. en el presente Contrato de Arrendamiento. La

          Arrendadora hara todo 10 posible por notificar previamente a la Arrendntarin, de

          la necesidad de entrer al Area Arrendada y de obteller su autorizacl6n a esos tines.

          -----(2). La Arrcndataria utilizara eI sistema electrico segun provisto por 13

          Arrendndora para el Area Arrendada y su consumo de energla electrica no

          exeedera 1a capacidad para la que ha sido diseiiada el Area Arrendada. En caso de

          ser necesario el alterar el sistema electrico del Area Arrcndada para utilizar el

          equipo que requiera mayor capacidad de electricidad, In Arrcndataria debeni

          solicitar autorizaci6n de la Arrendadora y de las entidades gubernarnentales

          correspondientes y luego de obtener tal autorizaci6n, efcetuara a sus tales

          lnodificaciones.    En caso de a1teraciones y/o adidones al sistema electrico

          realizadas par la Arrendataria sin autorizacl6n de 1a Arrendadoru, ademas
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          del costo de las mismas, de surgir algun desperfecto al sistema eleClrico, la

          Arrcndataria respondera por la reparaci6n y por el uso indebido de dicho sistema.

          ----(3) Cualquier dafio resultante por el·uso indebido por cualquiera de las partes,

          sus empleados y agenles, de los baf'ios 0 equipo de estos, sera reparado y pagado pOl'

          la parte que cause 0 perroita el mlsmo. --------------------------------------------------­

          ----(4) Ninguna de las partes podra pintar, taladrar, 0 cambiar parte alguna del Area

          Arrcndada, ni cortar la cableria de la misma, excepto mediante acuerdo entre estas y a

          tenor con lo.dispuesto en el presente Contrato.de Arrendamiento. sin que se enllenm que

          esta limitaci6n resrringe las facultades. de la Arrendadora de cumplir con sus

          obligaciones de proveer mantenimiento !Jajo el presente Contrato de Arrendamiento.-­

          -------(5) La Arrcndadora proVecr3. el equipo de aire acondicionado al Area

          Arrendada y Ia Arrendalarla conviene en mantener debidamente cerradas las ventanas y

          reaiizar todos los aetos que sean necesanos y requeridos por los reglamentos vigentes

          par el mejor funcionamiento y aprovechamiento de dicho sistcma.------------------­

          ---(6) A la fecha de aceptaci6n del Area Arrendada, la Arrendadora proveeni

          "sta con equipo de extinci6n de incendios segun sea requerido por la reglamenmcion

          aplicable. ---------------------.------••••--.-.-••• -•••- -•••---.---••-.-----••••••••••-­

          ------(7) La Arrendadora sera regponsable de que el servicio de ascensores est.!

          disponible todas las hams que este siendo utilizada el Area Arrendada.·---·-.---·----.·

          ------·(8) La Arrcndataria tendni a su cargo la administracion del area de

          cstacionamiento y determinaran la forma en que se disrribuira el uso de esla entre la

          Arrendalaria y los demas cesionarios y/o subarrendatarios mediante los contratos que

          evenluaimente se otorguen. de otorgarse a1guno. - - . - . - - - - - ­

                                           SECCI6N DlEZ (10)
                                              (SEGUROS)

          ---Secciiin Diez Punto Uno (10.1) - Seguros. La Arrendadora y/o los contratistas

          a los cuales se les adjudique !a construccion de cualquicr parte de! Proyecto, bajo su



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            sola cuenta y cargo, obtendran y mantendran los seguros que se enumeran ell este

            Articulo. ---------------------------------------------------------------------­

            ---Seeden Dicz Punta Dos (10.2) - Seguro(s) de Propicdad. Durante la ctapa de

            construcci6n del Proyecto se tendm una cubierta de "Builder's Risk" que cubra, sin

            limitaci6n, el cien par dento (100%) de las estructuras contra cualquier riesgo de

            perdida. dallo a destrucci6n por cualquier causa, incluyendo el costo de remocion de

            oscombros. Una vez finaliee la construecian, la paliza de "Builder's Risk" sem

            reemplazada par una paliza de propiedad en "Special Form, All Risk Form", la eual

            cubrim las estructuras contra cualquier riesgo de perdida, daflo a destlUccian par

            cualquier causa en una cantidad no menor al cien por cicnto (100%) del valor de

            reemplazo de la propiedad, incluyendo 01 Proyecto y/o propiedad personal 0 mueble

            en las mismas. La paliza de propiedad incluh-a un endoso de proteccian contra In

  ~ lnfiaelan de ocho par clento (8%) ("Infiation Guard"), e lncluini a la Arrcndntaria
            como "Loss Payee". Dc requerlr la compaflia aseguradora una tasacian del Area

            Arrendada como una eondici6n para expedir el coITcspondiente segura sabre la

            propiedad, la Arrcndadora se compromete a obtener dicha tasaeian, a su costa y.

            proveeni a la Arrendataria copia de Ia misma. -------------------------------------­

            ---Seeden Diez Punto Trcs (10.3) • Seguro de ResDonsabilidad Publica. Paliza

            general y de responsabilidad publica contra reelamaciones par daflos personales,

            muerte' y/o dafios a propiedad, que cubra el Proyecto, la parcela y demas

            componentes del Area Arrendada. Dieho segura proveeni una peliza principal con

            llmltes de un mill on de dolares ($1,000,000.00) por oeurrencia y dos millone, de

            d61ares ($2,000,000.00) agregado anual, y una p6liza adicional "umbrella" can

            limite no menor de cinco mill ones de d61ares ($5,000,000.00).         Estas palizas

            deberan inclulr a la Arrendataria como asegurada adlcional e inclulr un endoso de

            "Hold Hannless Agreement" a favor de la Arrcndataria y estanin vi gentes durantc

            la eonstrucci6n y continuarnn, una vez finalizada la misma, durante la operaci6n del

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          Proyecto. -------------------------------~----------------------------------------------

          --Scccion Diez Punta Cuatro (lOA) - Segura de Inundaci6n. Se obtendn\ seguro

          de inundaci6n en caso de que este sea aplicable a la zona del Area Arl·cndada. ---­

          -Seccion Diez Punta Cinco (10.5)- Seguro de Rcsponsabilidad Patronn!. La

          Arrcndadora obtendn\ segura del Fondo del Seguro del Estado, segun requerido

          por ley. Ademas, se obtendra un seguro por una cubierta no menor de quinientos

          mil dolares ($500,000.00) por persona y por evento que cubre la responsabiJidad no

          cubiel1n por el Fonda del Seguro del Estado en caoo de negligencia crasa.-----------­

          ---Seecion Diez Punta Seis (10.6) - Otros Seguros.               Cualquier otro segufO

          requerido por ley a recomendado por los usos particulares del Proyecto.------------­

          ---Secelon Dicz Punta Siete (11l.7) - Cer!ilicados de Seguros. A la Fecha de

          Comienzo de Construccion, la Arrendadora emregara a la Arrendataria los

          certificados de segurns correspondientes a In fase de la eonstrucci6n del Proyecto asf

          como una copia de cada poliza. A la Fecha de Comienzo del Arrendamiento la

          Arrcndadora· entregara a          Ia Arrcndatarin       los   certificados de seguros

          eon-espondientes a Ia fase de la operaci6n del Proyecto as; como una copia de cada

          paliza. De igual manera, la Arrendadora entregara anuulmente a la Arrelldn tarin

          los certifieados de la renovaeion de dichas poliza" antes de In fceha de expimci6n

          de las mismas. ------------------------------------------------------------------------­

          ---Seceion Diez Punto Oeho (10.8) - Los Aseguradorcs. Las palizas de segura

          antes indicadas tendnin que ser expedidas por compaiHas autorizadas a haeer

          negocios en el Estado Libre Asociado de Puerto Rico, y que sean razonablemenle

          aceptables a la Arrendata ria. ------------------.--------------------------------------­

          mScccion Diez Punta Nueve (10.9) - Asegumdo AdieionnJ. Las palizas antes

          indieadas ineluimn a la Arrclldntaria como "nsegurada adicional" ("additional

          named insured") y cubierta por todos los relevos y salvaguardas contra todos los

          riesgos as.gurados por los mismos ("hold hannless agreemem"). Dichas polizas

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          proveeran para que no puedan sufrir ningun cambio sustaneial 0 eaneelaei6n .de las

          mismas•.sin haberse notificado por la compallia aseguradora a la Arrcndataria con

          nO menOs de treinta (30) dias de antelaci6n de dicho cambio 0 tenninacion.---------­

          --Sccci6n Dicz Punto Diez (10.10) - Notificaci6n en CaBO de Emergcncia. La

          Arrendataria notificarii en el mas breve plazo posible a la Arrendadora en easo

          de fuego. danos a cualquier emergeneia que acurra en el Area Arrcndada. ------­

          ---Scccion Dicz, Punto Once (10.11), r Rcparaeioncs lnmcdiatas.             En easo de

          ocasianarse danos parciales por fuego a cualquiera otra pe,:dida eubierta por las p61izas

          de seguro mantenidas par In Arrcndadorn. pero que reguieran inmediata reparacion, In

          Arrcndataria podrli restituir el area afectada a1 mismo estado en que se enconn'aba

          antes de que se ocasionaran los danas 0 In destrucci6n, siempre que dieha aeci6n se

          notifique previarnente a Ia Arrcndadora y·no afecte la reclarnaci6n por los danos

          cubiertos por p61izas de esta. La Arrcndataria recobrarii de la Arrendadom, previa

          presentaci6n de la mctura correspondiente, los costos incurridos en dicha restituci6n.

          La Arrendadora efectuara tal reembolso a mas tarder dentro de los sesenta (60) dias

          del recibo de pago de Ia compensaci6n resultante del seguro. Si transcuO'ldo dicbos

          sesent. (60) dias no se ha reembolsado la cantidad recibida por la Arrendadora del

          segum, entonees se desconlara la mlsma del componente de mantenimiento de 18

          renla mensual a pagarse.---------------------­

          ---Seeci6o Dicz Ponto Doee (10.12) - Rcducci6n de Renta en Caso de Inutilidad

          Parcial. Si el dano POl' lll20n de fuego pOl' cualquier otra causa al Area ArrcndaUa es

          pareial, la renla a pagar por la Arrendataria serli reducida del componente operacional

          del Canon de Anendamiento (mensual) en proporci6n a la pore;on del Ar..... ArrcnUada

          que resulte inservible, segun 10 determine la compania de seguro correspondicnte. Dicha

          ..cducdon al Canon de Arrendamiento pcrmaneceni vigente hasta tanto la

          Arrendataria acepte el' area afectada luego de reparada.------­

          ---Seecion Dicz Punlo Treec (10.13) - Restauracion en Caso de Inutilidad


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          Susfancial. En caso de que: (1) el costo de restaurar el area afectada sea el cincuenta

          (50%) por clento 0 mas de valor de diche. area, seg{ln 10 detemline la compafiia de seguro

          cOlTespondiente, y el dafio ocasionado no permila el uso para 10 que ha side

          destinada el Area Arrendada 6 (2) el dano ocurrido al Area Arrendada sea uno

          sustancial, segUn lo determine la compafiia de seguro cOrre5pondiente, y no es de los

          riesgos cubierros por la p6Iiza mantenidas por Ia Arrcndadom, la Arrcndadom pod!";'

          reparar los danos segun 10 aqul estipulado 0 dar por terminado el Contralo de

          Arrendamiento. La Arrendadora notifiean! a Ia Arrelldnlaria los fundamentos de

          su decision de dar por terminado el Contrato de Arrendamiento dentro de un plazo

          de cuarenla y cinco (45) dlas de ocasionados los dallos y, en su conseeuencia, se

          dara por terminado el Contralo de Arrendamiento. Se ac!ara que de tenninarse el

          Contrato de Arrendamiento bajo las clreunslancias antes mencionadas en esle

          inciso, la Arrendataria no tendre dereeha de adquirir por compraventa ni de otra

          fanna el Area Arrendada l)i ninguno de sus eomponentes individuales. -------------­

          ---Seeciiin Diez Punto Catoree (10.14) -. Obligaeiones en Caso de I..

          Terminacilin del Arrendamicnto. En caso de que el Contrato de Arrendamiento

          tennine pOl' las rezones expuestas en la scecion que anlecede, la obligacion de la

          Arrendataria de pagar el Canon de Arrendamiento pactado cesarn desde la fecha

          en que se hubiese notifieado a la Arrendadora los danos 0 la destruecion de Area

          Arrendada.----------------------------------------------------------"----------------------­

          ---Seceion Dicz Puoto Quince (10.15) - Reelamaeiones. La Arrendadora aSllme

          toda responsabilidad legal proveniente de reclamaciones de danos y perjuicios por

          hechos 0 Causus de aeeion surgidas en e1 Area Arrendada relativa a los servicios

          de manlenimiento que .preste y efectile bajo eI presente Contrato de Arrendamiento

          respeeto a las reparaeiones y susliluciones necesarias en el Area Arrcndada. La

          Arrendataria respondera de reclamac.iones de danos y perjuicios por hechos 0

          causas de accion que resulten de aceiones u omisiones de esta 0 de sus empleados
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          en las areas del Area Arrendada que se eneuentre bajo su control, excluyendose

          las areas que esten bajo e I control de los subarrendatarios            0    cesionarios

          debidamente aprobados       par   la   Arrendadora,     disponiendose       que   dichos

          subarreudatarios 0 eesiouarios respondemn de aquelJas reclamaeiones de danos y

          perjuieios por hechos 0 causns de aeci6u que resullen de aeeiones u omisiones

          suyas 0 de sus empleados en las areas que so eneuentren bajo su control. La

          Arrcndataria oblendr" una p61iza de segura que responda por los danos que Ie son

          imputables al amparo del prcsente Contralo de Arrendamiento, pero dicha p6liza

          excluir" danos resultantes de defectos 0 desperfectos del Area Arrcndada y danos

          de olra fonna imputables a la Arrendadora 0 a los subarrendatarios 0 .cesionarios

          aprobados por la Arrendadora. . De igual forma, dichos subalTendBIBrios (j

          cesionarios aprobados por la Arrendadora obtendmn una p6liza de segura que

          responda por los danos que Ie son imputables al amparo del presente Coutrato de

          Arrendamiento y estaran obligados a incluir a la Arrendadoro como asegurada

          adicional. --------------------------------------------------------------------------­

          ---Seccion Diez Punto Dicciscis (10.16) - Indcmnizacion.            La Arrcndadora

          indemnizara, relevara y salvaguardara a la Arrendataria de toda responsabilidad,

          perdidas, dafios, costas, penalidades, multas y/o honorarios y de cualesquiera

          Beciones, recJamaciones 0 demandas sobl'e dichos particulares, que pudieran surgir

          relacionados con el eumplimiento de sus obligaciones con el desarrollo,

          construcci6n, uso, operaeion, consel'lacion y mantcnimiento de III Parcela Centro

          Judicial y/o el Proyecto y/o cualquier otra mejora que se Heve a cabo como palte del

          desarrollo del Proyecto, dentro y fuera de la parcela Centro Judicial y por cllalquier

          reclamaci6n resultante de defectos de eonstruccion 0 estructurales en el Arca

          Arrcndada; con cualquier acto, omision 0 negligencia de la Arrcndadora, 0 de sus

          agentes, empleados, representantes, consultores, invitados, usuarios, ocupantes a

          inquilinos; con cualquier incumplimiento de In Arrendadorn, incluyendo 10 relativo


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          a las condiciones ambientales' y aceiones remediables; con cualquier uso, no usa,

          posesi6n, ocupaci6n, operacion, mantenimiento            0   administracion del     Area
          Arrendada y a fuera del Area Arrendada, pero bajo el control de 13 Arrcndadora,

          por parte de la Arrcndadora          0   de sus agentes, empleados, representantes,

          consultores, invitados, usuarios, oeupantes 0 inquilinos, a menos que resulte de I.

          negligencia y los actos u omisiones de la Arrendataria, sus empleados, contralistns

          o agentes; y can cualquier accidente, lesion 0 dana a cualquier persona 0 propiedad

          que ocurra en y en los alrededores del Area Arrendada y afuera del Area Arrendada,

          pero bajo el control de la Arrcndadora, a menos que ocurra solamente como

          resuitado de la negligencia 0 de los actos u omisiones de Ia Arrcodalaria, sus

          empleados, subarrendatarios, contratistas 0 agenles. ----------------------------------­

                                         SECCI6N ONCE (ll)
                                         (CONTRIBUCIONES)


          ---Seecion Ooce Punto Uno(11.1) - Cootribueioncs. La Arrendadora pagara 0

          lograra que se pague, antes que niaguna multa, penalidad 0 inter!!s sea impuesta por

          el incumplimiento de pago, y sera responsable de todas las contribuciones de

          cualquier naturaieza, cargos, aportaciones 0 cuotas que se impongan y corresponclan

          al {'royecto y/o al Area Arrendada y/o a cualesquiera otros bienes, operaciones y/o

          servicios relacionados con el Prayecto y/o al Area Arrcndada, a no ser que su

          imposicion se deba a cambio en iegisiaeion, incluyendo el cambio en ordenanza y

          reglamento tanto del gebierno estatal, municipal y/o federal. -----------------------­

          ---Secci6n Once Punto Dos (11.2) - Contribucioncs sobrc In Propicdad. Durante

          la vigencia del Centrato de Am,ndamiento, y de imponerse el pago de

          contribuciones sabre la propiedad al Area Arrendada, 10 Arrcndadora sera

          responsable del pago de· las mismas y someten, a la Arrendataria y a su acreedor

          hipotecario una certificacion de la autoridad gUbemamental correspondiente 0

          cualquier atra evidencia demostrativa de que ha satisfecho el pago' de contribuciones

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          sobre el Area Arrcndada, segun Ie sea requerido.              Se acuerda y aclara que In

          responsabilidad de la Arrendadora en cuanto aI pago de [as cantribuciones sabre In

          propiedad se Iimita a contribuciones sobre la propiedad a base del primer recibo que

          se emita a las efectos, cantemporaneo can la expedici6n del permiso de usa, por 10

          que cualquier aumenta en dicha cantrlbuci6n sera par cuenta de la Arrcndlltaria.-­

          --Scccioll Once Punta Trcs (11.3) - Ccrtificaci6n. La Arrcndadora praveeni a la

          Arrcndataria y a su acreedor hipotecaria, una ccrtificaci6n de la au(oddad

          gubernamental correspandiente a cualquier atra evidencia demostrativa de que ha

          satisfecho el pago de las contribuciones sabre el Area Arrcndada, segUn Ie sea

          requerida. ------------------------------------~---------------------------------------------

          ---Sccci6n Once Punto Cuatro (11.4) - Contribucioncs sabre lngrcsos,

          Aportacioncs al Segnro Social. La Arrendadora es responsable de pagar las

          aportaciones correspondientes al. Segura Social Federal y al Negociado de

          Cantribuci6n sabre Ingresos del. Departamento de Hacienda par cllalquiel' cantidad

          tributable como resultado de los ingresos devengados bajo estc Contrato de

          Arrendamiento. La Arrcndntaria notificani al Negociado de Contribuci6n sobre

          lngresos los pagos y reernbolsos que sean efcctuados a la Arrcndadora. ---------­

                                         SECCI6N DOCE (12)
                                      (EXPROPlACI6N FORZOSA)

          ---Sccci6n Doce Punta Uno (12,1) - Expropiaci6n Fonosa. Si durante la vigencia

          de este contra!o el Area Arrcndada fuera objeto de un proccdimiento de

          expropiaci6n forzosa iniciado a In luz de la legislaci6n vigente a estos fines, tal

          expropiacian dani par terminado este Contra!o de Arrendamiento y los derechos y

          obligaciones bajo 61 acordados.      El Canon de Arrendamienta a ser pagado por In

          Arrendalaria se ajustani a la feeha de tal terminaci6n.----------------------------------­

          ---Scccion Doce Punta Dos (12.2) - Expropiacion Parcial. Las prutes acuerdan

          que de iniciarse una accian de exprapiaci6n forzosa de una parte del Area

          Arrcndada que no impida el usa par la Arrendataria del resIn de la rnisma, este
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          Contrato de Arrendamiento continuara en vigor. Disponiendose, sin embargo, que

          efectivo a la fecha en que la Arrendataria pierda e1 uso efectivo del area objeto de

          expropiacion 5e redueini el Canon de Arrendamiento a ser pagado por la

          Arrendataria por una suma proporcional a la relacion· que guarde la porci6n del

          area expropiada respeeto a 1a totalidad del Area Arrendada a~tes de iniciarse el

          procedimiento de expropiaci6n forzosa. En clicho caso, la Arrendadora destinaro

          aquella eompensaeion que Ie corresponda por dicha expropiaei6n para

          complementar el canon ajustado para fines de efectuar aquellos pagos relativos al

          financiamiento de Area ArrendadB. Las partes reeonocen y aclaran qlle el Canon

          de Arrendamiento no se paga en proporci6n a los pies cuadrados de la Parcelu

          Centro Iudicial. --------------------..-----------------------------------------­

          ---Sccei6n Doce Punta Tres (12.3) - Notificaeion. En cualesquiera de las dos

          situadones mencionadas anteriormente, Iu Arrendalana lenctra derecho u seI" notificada y a

          participar en los procedirnientos de expropiacion forzosa para que sus inlereses sean

          protegidos y valorados correctamente al concederse I. jusla compensaci6n requedda

          por la ley.----------------------------------------------------------------------------------­

                                         SECCION TRECE (13)
                                       (DANOS Y DESTRUCCION>

          ---Seeciou Treee Puuto Uno (13.1) - Notifieaei6n de Danos. La Arreudataria, a

          la brevedad posible, notifieara a la Arrcudadorll. en caso de daiios, filego 0

          cualquier emergenci. que ocurra en el Area Arrcndada. ------------------.-----------­

          --Seccion Tree. Punta Dos (13.2) - Danos a Destrucciou de Pro nied lid.

          Ninguna perdida, dana 0 destrucei6n al Area Arrendada por cualquieI" causa,

          tendni el efecto de lerminar esle Contrato de Arrendamiento, salvo segun se expone

          mas adelante, 0 de relevar a la Arrendatana del pago del Canon de Arrendamiento.

          ---Seecion Treec Pnnto T..es (13.3) - Prueb. de Pcrdidll. En la eventualidad de

          que todo 0 parte del Area Arrendada sufran danos a perdida, la Arrendadorn

          notificara pronlamente a la compailia aseguradora y a la Arrendataria, y
                                                       30
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          proseguira con la(s) reclamacion(es) correspondiente(s) de confonnidad con los

          tenninos de las palizas vigentes. -----------------------------------------------­

          --Seecion Tree.., Punto Cuatro (13.4) - Destrueeion Parcial. Repameion del

          Area Arrcndada. Si el costo de reparar el Area Arrendada afectada POl' cualquier

          dano 0 destruccion, pOl' fuego por cualquier otto riesgo, de los cubieltos poria

          poliza de la Arreudadorn es menor del cincuellta por ciento (5Q%) del valor de la

          misma. segun 10 detennine la. compania de seguros correspondiente, la

          Arrcndadora procedera a reparar el Area Arrendada.                 La reparacion debera

          restituir el area afectada y sus accesiones al mismo estado en que se encontruban

          antes de que se ocasionaran los danos 0 la destruccion. de forma que se pueda seguir

          utili7.ando In totalidad del Arca Arrendada.-----------------------------------------­

          ---S.ecion Treee Punto Cinco (13.5) - Comien:w de III Reparaeion. EI comienzo

          de la reparaeion no tardara mas de noventa (90) dlas a partir de la fecha en que In

          Arrendadora tenga conocimiento del dano 0 reciba notificaeion del.dano. 10 que

          oeurra primero, salvo que la Arrendadora justifique por eserito prorrogar el

          tennino.    Dieha prorroga nunca execdera de treinta (30) dias a partir de In

          aprobacion de parte de la Arrendataria de la misma, disponiendose que dichos

          tenninos quedanin en suspenso mientras esten vigentes ordenes 0 restricciones

          impuestas por agencias gubemamentales eon autoridad para ella 0 por la compania

          de seguros. que impidan el comienzo de las reparaciones. -----------------------------­

          ---Scceion Treee I'unto Seis (13.6) - Aj""te al Canon de Arrendamiento. Si el

          dano 0 destrucci6n del Area Arrendada es parcial, el Canon de Arrendamicnto a

          pagar por la Arrendataria seni reducido en proporcion a la parte arrendrula que

          resulte inservible, segun 10 determine la compania ·de seguras correspondiente.

          DiCha redueci6n perrnaneeera vigente hasta tanto la Arrcndataria acepte el area

          afectada despues de reparada. -----------------------------------------------------------­




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                                    SECCl6N CATORCE (14)
                                   CESI6N Y TRASFERENClAS

          --Secci6n Catorce Punto Uno (14.1) - Cesi6n               0   Sub"rriendo por      ill

          Arrendataria: Sin perjuieio de las obligaeiones eontraldas en el presente Contrato

          de Arrendamiento, la Arrendatnria podra ceder 0 subarrendar parte del Area

          Arrendada, siempre y cuando obtenga el eonsentimiento previa y eserito de I.

          Arrendadora, el cual no podra ser denegado irrazonablemente. La Arrclldlldorn

          podni objetar el subarriendo si el uso 0 activii:lad propuesta por la Arrendatarin

          puede afectar la integridad del Area Arrendada 0 si puede provoear un incremento

          material en el costa de mantenimiento del Area Arrendada, segUn razonableroente

          evidencie la Arrendadorll a la Arrendataria en cada caso. En aquellos casos en

          que la Arrendadora evidencia que la actividad propuesta pueda provocar un

          incremento material en el cosio del mantenimiento del Area Arrendada. el

          subarrendamiento podrla perrnitirse sujeto a que la Arrendadora y la Arrendalarill

          negoden un aumento en el componente de mantenimiento del Canon de

          Arrendamiento. No obstante 10 anterior, cualquier subarriendo que la Arrendadora

          autorice no relevanl a la Arrendataria de sus obligaciones 31 amparo del presente

          Contrato de Arrendamiento. --------------------------------------------------------­

          ---Seccion Catorce Punto Dos (14.2) - Transferencias 0 Ce.iones por la

          Arrendadora Durante el Termino del Contrato de Arrendamiento.                      La

          Arrendadora no podrn vender y/o ceder el Area Arrendada antes de veneido el

          termino del presente Contrato de Arrendamiento, sin antes ofrecerla con earacter

          preferencial a la Arrendataria.----------------------------------------------------­

          ---Seecion Catorce Punto Tres (14.3) - Compra por In Arrendatarin. De In

          Arrendadora deeidir vender y/o ceder el Area Arrendada y. luego de haber

          notifieado a la Arrcndalaria, se entendenl que In Arrend.t.ri. ha ejereido su

          derecho preferenciaJ a adquirir el Area Arrendada con la mera notificaci6n de su

          inteneion   de    adquirir    el   Area Arrendadll por eserito dentro del periodo
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         de noventa (90) dias antes descrito, sin necesidad de que la compra del Area

         Arrendada se perfeccione dentro de dicho termino. ------------------------------------­

         -----La Arrendataria debera perfeccianar la compraventa del Area Arrendada en

         un plaza de no mas de noventa (90) dias luego de notificar su intenci6n de adquirir

         el Area Arrendada. En dicha casa, los gastos de sellos del original de la escritura

         de campraventa y los honorarios del notario seran sufragados par la Arrendadora.

         EI Notaria sera seleccionado por la Arrendadora. Los demas sellos y aranceles, si

         algunos, seran de cuenta y cargo de la Arrendataria.----------------------------------­

         ---En casa de que la Arrendataria no ejerza dentro de un termino de noventa (90)

         dias su derecho a adquirir preferencialmente el Area Arrendada, la Arrendadora

         padra cederla 0 venderla a un tercero, quien la adquirira sujeto a los terminas y

         condiciones del presente Contrato de Arrendamiento. ------------------------------­

         -----En caso de que la Arrendataria no ejerza su derecho a adquirir cI Area

         Arrendada, toda informaci6n sobre cualquier comprador de la misma sera

         suministrada a la Arrendataria antes de perfeccionarse el contrato de compraventa

         entre la Arrendadara y el potencial compradar.-----------------------------------------­

         ---Secci6n Catarce Punta Cuatro (14.4) - Transferencias 0 Cesiones a la

         Arrendataria. Salvo por 10 dispuesto en la Seeci6n Dicciscis (16) de este Cantrato

         de Arrendamiento, la Arrendataria no podra adquirir por compraventa 0 de olra

         forma el Area AITendada, a menas que 1a Arrendadora, a su entera discreci6n.

         ofrezca a la Arrendataria la opartunidad de adquirir el Area Arrendada.-------------­

         ---Sccci6n Catorce Punta Cinco (14.5) - Transfcrencias 0 Cesiones a Terceros.

         La Arrendadora no padn! transferir 0 ceder, directa 0 indirectamenle, 0 de

         cualquier otra forma enajenar, parcial 0 totalmente, el Area Arrendada y los

         derechos e intereses conferidos mediante este Contrato de Arrendamienlo sin el

         consentimiento previo escrito de la Arrcndataria. No obstante, la Arrendadora

         padra transferir, ceder 0, de cualquier otra forma enajenar, el Area Arrendada y


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         sus derechos e interes bajo este Contrato de Arrendamiento con el consentimiento

          previo escrito de la Arrendataria, el cual no podra ser atrasado, condicionado 0

          rechazado de forma irrazonable, si los accionistas principales actuales de la

         Arrendadora continuan manteniendo por 10 menos una mayoria del interes

          propietario sobre la Arrendadora y/o de la entidad a la cual serian transteridos 0

          cedidos 0 enajenados los derechos y el Area Arrendada, de manera tal que permita

          que los accionistas actuales de la Arrendadora mantengan el control efectivo de la

          ndministracion de la entidad cesionaria y que dicha entidad cesionaria tenga igual 0

          mejor capacidad financiera y operacional que la Arrendadora y cumpla con todos

          10 requisitos establecidos en el Contrato de Desarrollo y este Contrato de

          Arrendamiento. En conjunto con la solicitud de aprobacion de la transfcrencia 0

          cesion, la Arrendadora proveera a la Arrendataria la informacion bancaria y

         financiera necesaria para que la Arrendataria pueda evaluar a la entidad cesionaria

         propuesta     y   cualquier     otra   informacion      que    la   Arrendataria        entienda

          razonablemente necesaria para evaluar la solicitud de aprobacion de transferencia 0

         cesi6n. -------------.-------------.-----.-----------------.------------------------------------­

         ---Seccion Catorce Pnnto Seis (14.6) - Razoncs para Denegar la Aprobacion.

         Sen; considerado como razonable, pero sin limitarse a ello, que la Arrendataria

          deniegue 0 no otorgue su consentimiento a la cesion del Area Arrendada y/o los

         derechos e intereses conferidos mediante este Contrato de Arrendamiento a favor de

         un tercero, el que el cesionario propuesto no tenga In capacidad financiera y/u

         operacional y/o la experiencia necesaria para cumplir con las obligaciones de

         Contrato de An'endamiento 0 si la Arrendataria, como entidad publica, presenta

         justificacion suficiente sobre deficiencias en el caracter y reputacion del cesionario

         propuesto. -------------------------------------------------------------------------------------­

         ---Seccion Catorce Pnnto Siete (14.7) - Copia de los Acnerdos de Ccsion 0

         Transferencia. Una vez se realice la transferencia 0 cesion de aCllerdo con 10


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          dispuesto en la Secci6n 9, la Arrendadora proveera a la Arrendataria copia de los

          acuerdos 0 documentos otorgados para lIevar a cabo dlcha transferencia 0 cesion, en

          los cuales el cesionario asumin\ y acordanl observar y cumplir con todos los

          acuerdos,   condiciones,    representaciones    y   disposiciones,   de   parte de     la

          Arrendadora, establecidos en el Contrato de Desarrollo y en este ContJlIto de

          Arrendamiento. ---------.--------------------------------------------------------------­

         ---Secci6n Catoree Puntu Ocllo (14.8) - Transfereucias Prohibidns.                     La

          Arrcndadora no podra transferir 0 ceder, directa 0 indirectamente, parcial 0

          total mente el Area Arrendada ni los derechos establecidos a una persona 0 entidad

          a la que 1a Arrendadora tenga conocimiento de que ha sido convieta 0 se haya

          declarado culpable en un proceso criminal por un delito.o que sea e1 objeto de una

          investigacion de un gran jurado antes de la feeha de la transferencia 0 cesi6n

          propuesta; a una persona 0 entidad de un pais cuyas aetividades esten reglamentadas

         o eontroladas por las siguientes leyes y reglamentos y ordenes promulgados en

         virtud de ';stas, de los Estados Unidos de America, segUn enmendadas: "The

         Trading and Enemy Act of 1917", "The International Emergency Economic Powers

         Act of 1976" y "The Anti-Terrorism and Arms Export Amendments Act of 1989";

         ni a una persona designada como "Special Designated National or Blocked Person"

         pOl' el Departamento del Tesoro de los Estados Unidos de America. ------------------­

                                       SECCl6N QUINCE (15)
                                     ACREEDOR HIPOTECARIO

         ---Seccion Quince Punto Uno (IS.l) - Acuerdo de No Perlurbacion ("Non

         Disturbance Agreement"l.           La Arrendadora obtendra de sus aereedores

         hipoteearios el aeuerdo eserito mediante el cual se eomprometen a homar este

         Contrato de Arrendarniento en caso de ejecuci6n 0 cualquier procedimiento dirigido

         a lograr e1 eumplimiento de Lo eonvenido en la hipoteca vigente al otorgarse este

         Conl!1lto de Arrendamiento, as! como en cuanto a cualquier olro acreedor

         hipotecario de una hipoteea constituida en el futuro.         Mediante dieho aellerda,
                                                   3S
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         cualquier acreedor hipotecario de la Arrendadora se comprometeni a garantizar

         que la posesien de la Arrendataria no sen! perturbada siempre y cuando esta. al

         momenta de la ejecuci6n de la hipoteca 0 procedimiento legal de que se trute. no

         haya incumplido sus obligaciones bajo este Contrato de Arrendamiento.------------­

         ---Sec cion Quince Punto Dos (15.2) - Derechos de los Acreedores Hipotccarios.

         Nolificacion. EI 0 los acreedores hipotecarios senin notificados simultaneamente

         que la Arrendadora de cualquier proceso 0 acci6n para terminar 0 de cualquier otra

         forma afectar el Contrato de Arrendamiento. incluyendo cualquier aviso de evento

         de incumplimiento. alg(Jn asunto en que un evento de incumplimiento. un aviso de

         terminacien 0 una condici6n que pueda \Ievar a la terminaci6n del Contrato de

         Arrendamiento. La notificaci6n al 0 a los acreedores hipotecarios sen! por correo

         certificado con acuse de recibo y ninguna notiflcaci6n 0 proceso a la Arrendndora

         sera efectivo a menos que una copia de la notifleacien se en vie al 0 a los acreedores

         hipotecarios. ---------------------------------------------------------------------------­

         ---Seccion Quince Punto Tres (15.3) - Derccho a Remediar. EI 0 los acreedores

         hipotecarios podran. a su discreci6n remediar cualquier incumplimiento por parte de

         la Arrendadora.        Para remediar el iocumplimiento tendnio el mismo tiempo.

         terminos y condiciones que tendria la Arrcndadora para cumplir 0 remedial' un

         incumplimiento especiflco. segim 10 establecido en este Contrato de Arrendamiento.

         ---Scccion Quiuce Punto Cuatro (15.4) - Cesien de Dercchos de Canon de

         Arrendamiento.       La Arrendadora podni ceder sus derechos a los canones de

         arrendamiento adeudados y por cobrar. segun 10 establecido en Contrato de

         Arrendamiento. a favor del 0 de los acreedores hipotecarios que concedan el 0 los

         prestamos para el desarrollo y construcci6n del Proyecto.                  Dicha cesi6n no

         constituira una Iiberaci6n de ninguna de las obligaciones de la Arrendado..... salvo

         pacto en contrario entre las partes.---------------------------------------------------------­

         ---Secci6n Quince Punto Cinco (15.5) - Obligaciones de los Acreedorcs


                                                      )6
                                                        -.
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          Hipotccarios, Notilicacion. Durante el termino del Contrato de Arrendamiento, la

          Arrcndadom notificara a la Arrcndalaria sobre cualquier incumplimiento con los

          lenninos los acuerdos suscritos por la Arrcndadora para el financiamienlo del

          Proyecto.    Ademas, las hipotecas proveenln para que el acreedor, acreedor

          hipotecario y/o fiduciario actuando a beneficia de estos, nOlifique a la Arrendatarln

          de cualquier incumplimiento par parte de la Arrcndadorn de los terminas del

          financiamiento y/o hipoteca.-----..---------------------------·------------------------­

          ---Seccion Quince Punto Scis (15,6) - Derecho a Remcdiar. La Arrendatnria

          tcndra treinta (30) dias, contados a partir del recibo de la notiticnci6n al acre.dOl·

          hipotecario para, a su discrecion, remedinr el incumpJimiento y proceder a

          descontarl0 del canon de arrendamiento. ----------------------------------­

          ---See.ion Quince Punto Siete (15.7) - Termino de las Hipoteeas.                      El

          financiamiento obtenido por la Arrendadora y garantizado mediante hipoteca para

          construir las facilidades objeto de esle Contrato de Arrendamiento, incluso el

          financiamiento de los gastos de construeci6n correspondientes a los "Change

          Orders" no podra exceder el termino del presente Contrato de Arrendamiento.

          Dicho financiamienlo e hipoteca(s), incluso 10 correspondiente a los antes

          mencionados "Change Orders", no pennitinln que se extienda el tennillO de dicho

          prestamo mas aHa del rermino de duraelon del presente Contrato de Arrendamiento.

          ---Seccion Quince Punto Oeho (15,8) • Definici6n Hipoteca.                  El termino

          "hipoteca" comprendeni a los fines de esle Contrato de Arrendamiento: hipotccas del

          tipo autos liguidables, consolidaciones, extensiones      0   prorrogas a las mismas,

          renavaciones, reemplazos y sustituciones de "stas; asf como cualquier otl'lI fonna de

          financiamiento reconocido para obtener cantidades y adelantos dc cantidades de dinero

          que graven 0 puedan en el futuro gravar Area Arrendada.

          -Secci6n Quince Punto Nueve (15.9)· Venl" 0 Cosion de Dereehos, Eleeueion.

          La Arrcndalarin conviene que, en caso de venta 0 cosion por parte dc la
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          Arrendadora de su interes en este Contrato de Arrendamiento, 0 de instalSe cualquier

          procedimiento para la ejecucion y/o venta en publica subasta por razon del

          incumplimiento poria Arrcndadora con las condiciones de una hipoteca constituida

          gravando el Area Arrendada, habra de reconocer como 31Tendador bajo esle Contrato

          de Arrendamiento al nuevo titular de la misma, ella sujeto a 10 dispuesto en la

          Seeci6 n a eta va . ----------------------------------------------------------------------­

                            SECCION DIECISEIS (16)
               SUBARRENDAMIENTO DEL EDIFICIO DE ESTACIONAMIENTO

          ---Seeeion Dieeiseis Punto Uno (16.1) - Dereello de Subarrendar el Edifieio del

          Estaeionamiento. La Arrendadora y la Arrendataria reeonocen que como parte

          del derecho de arrendamienlo eoncedido mediante el presente ContralO de

          Arrendamiento, la Arrendataria tendni el derecho de subarrendar y/o aperar

 ~        direct3lllente y/o a traves de terceros el Edificio del Estacianamiento para lISO de

   ~ estacionamiento unicamente.               Se reconoce expresamente que como parte del

          referido derecho de subarrendar y/o operar directamente y/o a traves de tcrceros el

          Edificio del Estacion3llliento, la Arrendatarin podra devengar ingresas u atros

          beneficias economicos.------------------------------------------------------------------------­

          ---Seeeion Dieeiseis Punto Dos (16.2) - Permisos y Autorizaeiones para Operar

          el Edifieio del Estacionamiento.            De la Arrendataria ejercer su derecho a

          subarrendar y/u operar direct3lllenle y/o traves de terceros el Edificio del

          Estaeionamiento, la Arrendataria y/o sus agentes y/o sus subarrendatarios debenin

          obtener, a su costo, todos los pelmisos, endosos, concesiones ylo autorizaciones

          requeridos por las agencias gubernamentales concernidas para la operacion del

          Edifieio del Estacion3lniento.---------------------------------------------------------------­

          ---Seecion Dieeiseis Puuto Tres (16.3) - Seguros Relneionados con In Operaei6n

          del Edifieio del Estacionamiento.            De la Arrendataria ejercer su dereeho a

          subarrendar y/u operar directamente y/o U'aves de terceros 01 Edificio del

          Estacionamiento, la Arrendataria y/o sus agentes y/o sus subarrendatarios
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          debenln cumplir, a su costo, con los siguientes requerimientos:----------------------­

          -----(a) Deberan obtener una p61iza de seguro general y de responsabilidad publica

          para cubrir recIamaciones por danos personales, muerte y/o daiios a propiedad, que

          cubra el Edificio del Estacionarniento y los componentes necesarios para su

          operacion. Dicho seguro proveenl una p6liza principal con limites de un mi1l6n de

          d6lares ($1,000,000.00) por ocurrencia y dos millones de d6lares ($2,000,000.00)

          agregado anuaI, y una p6liza adicional "umbrella" con limite no menor de cinco

          mill ones de d6Iares ($5,000,000.00).             Estas p6lizas deberan incIuir a la

          Arrendadora como asegurada adicional e incluir un endoso de "Hold Harmless

          Agreement" a favor de Ia Arrendadora y estaran vigentes durante todo el termino

          en cualla Arrcndadora y/o sus agentes y/o sus subalTendatarios operen e1 Edificio

          del Estacionarniento.-------------------------------------------------------------------------­

          -----(b) Debenln obtener una p6liza de seguro del Fondo del Seguro del Estado,

          segun requerido por ley. Adem's, se obtendr' un seguro por una cubierta no menor

          de quinientos mil dolares ($500,000.00) por persona y por evento que cubre Ia

          responsabilidad no cubierta por el Fondo del Seguro del Estado en caso de

          negligencia crasa. --------------------------------------------------------------------------­

          -----(c) Debenin obtener cualquier otro seguro requerido por ley 0 recomendado en

          relacion con Ia operacion del Edificio del Estacionamiento.---------------------------­

          -----(d) A Ia fecha de comienzo de la operaci6n del Edificio del Estacionamiento

          deberan entre gar a la Arrcndadora los eertifieados de seguros que se Ie requieren

          asf como utia copia de eada p6liza. De igual manera, debenin entregar anualmente a

          Ia Al'rcndadora los certificados de la renovacion de dichas p6lizas, anles de Ia

          feeha de expiraci6n de las mismas. ---------------------------------~----------------­

          -----(e) Las polizas de seguro antes indicadas tendnin que ser expedidas por

          companfas autorizadas a haeer negocios en el Estado Libre Asociado de Puerto

          Rico, y que sean razonablemente aceptables a Ia Arrcndadora_-----------------------­

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         •..••(f) Las p6lizas antes indicadas inclujnin a la Arrcndadora como "asegurada

          adicional" ("additional named insured") y cubierta por tedos los relevos y

          salvaguardas contra todos los riesgos asegurados por los mismos ("hold hannless

          agreement"). Diehas p6lizas proveerM para que no puedan sufrir ningun cambio

          sustancial 0 eancelacion de las mismas, sin haberse notificado por la compaflia

          aseguradora a la Arrcndadora con no menos de treinta (30) dias de antelacion de

          dicho cambio 0 terminacion..................- ....- ..........- ..••---••-.---------•••
                       (
          ·-SecciOn Dieciseis Punto Cuntro (16.4) . No Costos Adicionalcs para III

          Arrendadora. De la Arrendalaria ejereer su derecho a subarrendar y/u operar

          directamente y/o traves de terceros el Edificio del Estacionamiento, In

          Arrendadora no sera responsable del pago ninguna aportacion, euota, arancel,

          interes, eontribucion 0 cargo de cualquler naturaleza que pudieran imponerie dil'oota

          o indireetamente las agencias gubemamentales con jurisdiecion en relaeion con In

          operaelon del Edifieo de! Estacionamiento por la Arrendalaria y/o sus agcntes y/o

          sus subal'rendatarios.   La Arrcndamria por la presente Iibera y releva a In

          Arrcndadora del pago de cualquier aportacion, euota, araneel, interes, contribucion

          o cargo de cualquier naturaleza que Ie pudieran imponer a la Arrcndndora directa 0

          indirectamente pOl' concepto de la operacion del Edificio del Estaelonamiento por In

          Arrcndatnrin y/o sus agenles y/o sus subarrendatarios y, ademas, se compromete 3

          reembolsar a Ia Arrcndadora, dentro de un tennino razonab!e, todo pago pOl'

          coneepto de aportacion, euota, arancel, interes, eontribucion 0 cargo de cualquier

          naturaleza que la Arrendadora esta Se vea obligada a satisfaeer pOl' concepto de la

          operacion del Edificio del Estacionamiento por parte de In Arrcndataria y/o sus

          agentes y/o sus subarrendatarios.···-·--·-··-··----·--------..·-·..-····-··­

          -..scccioll Dieciseis Punto Cinco (16.5) • Eguipo y Mantenimiento dcl Edificio

          del Estneionamicnto. De la Arrendataria ejercer su dereeho a subarrendar y/u

          operar directamente y/o traves de tereeros el Edificlo del Estacionamiento, esta y/o


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          sus agentes y/o sus subarrendatarios seran los unicos responsables de todo costo y/o

          gasto asociadas con la instalaci6n y mantenimiento de cualquier equipo necesario 0

          incidental a la operacion del Edificio del Estacionamiento.---------------------------­

                                     SECCION DIECISIETE (17)
                                         COMPRA VENTA

          ---Seceioo Dieeisiete Puoto Uoo (17.1) - Compravcnta. Transcurrido el termino

          de an'endamiento de treinta (30) anos, la Arrendadorll se obliga a vender y la

          Arrendataria se obliga a comprar el Area Arrendada por el precio convenido de




 ~
          UN DOLAR ($[.00), conforme a las leyes y proeedimientos vigentes ala rccha en

          que se efectue dicha compraventa.-------------------------------------------------­
   l      ---Seecioo Dieclsie!. Punto Dos (17.2) - Cargas v Grayamenes. La Arrendadora

          se obliga a traspasar el dominio del Area Arrendada, libre de cargas y gravamenes,

          embargos 0 anolaciones registrales, recJamaciones judiciales 0 extrajudiciales que

          involucre cualquier interes en el Area Arrendada, incluyendo y sin limitarse a In

          hipoteca   0   hipotecas constituidas para garantizar el        0   los prestamos de

          tinanciamiento para la compra de los terrenos y la construcci6n de las edificuciones

          o cualesquiera otros que pudiesen afeclar la transmisi6n del dominio libre de cargas

          y gravamenes. ------------------------------------------------------------------------­

          ---Sccci6n Diccisietc Punto Trcs (17.3) - Objeto de In Compraventa. Mediante In

          compraventa. la Arrendataria adquirirli el Area Arrendada.---------------------­

                                     SECCION DIECIOCHO (18)
                                        INCUMPLIMIENTO

          -Sccci6n Dieciocho Punta Uno (18.1) - Incumplimiento de 18 Arrendadora.

          Ambas partes acuerdan que los siguientes eventos seran considerados como

          incumplimiento de parte de la Arrcndadora: --------------------------------------­

          --------(1) Falta de cumplimiento con las obligaciones contraidas segun se desprende

          de 1a Sccei6n Diez      (10) (relacionada can los seguros del Area Arrendada),

          transcurridos !reinla (30) dias luego de la notificacion por escrito a la Arrcndataria.

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          -------(2) Falta de cumplimiento con cualesquiera de sus obligaciones contraidas en

          este Contrato de Arrendamiento, mcluso su obligaci6n de mantener el Arca

          Arrendada de forma adecuada, segura para el uso provislo y exceptuando aquellas

          instancias causadas por eventos de fuerza mayor, segun definidos por In

          jurispl1Jdencia puertorriqueiia y cuyas reparaciones se hagan en el liempo y 1a fonna

          estipulada en el presente Conlrnto de Arrendamiento. -------------------------------­

          ---No se considerara fa Ita de cumplimlento de la Arrcndadora, sl luego de recibida

          una notificaci6n escrita de la Arrcndamria requiriendo cumplir con las obligaciones

          dispueslas en esle Contrato de Arrendamiento, la Arrcndadora comienza a cumplir

          con sus obligaciones diligentemente, procurando las reparaciones 0 aclividades

          necesanas, dentro de los pr6xirnos tres (3) dias de recibida dicha notificaci6n 0

          dentro del siguiente dia laborable de haberse hecho la notificaci6n en los casas que

          se impida 01 uso del Area Arrendada 0 se comprometa la seguridad del Tribunal. --­

          --------(3) Cualquier evenlo de incumplimiento con los terminos de cualquier

          prestamo hipotecario que constituya un gravamen sobre el Area Arrendada. ------­

          --Sccci6n Dicciocho Punto Dos (18.2) " Incumplimiento de 18 Arrcndataria.

          Los siguientes eventos seran considerados como ineumplimiento por la Arrcndntlllia

          bajo este Contrato de Arrendarniento: -------------------------------------------------­

          --------(1) E1 incumplimienta can el pago del Canon de Arrendamiento,                  0


          cualesquiera atra rembolso 0 pago a favor de la Arrclldadora apliquen bajo est~

          Contrato de Arrendamiento, luego de haber transcurridos treinta (30) dias contados

          desde el reeibo por la Arrcndamria de la notificaci6n eserita reclamando el pago. -­

          --------(2) Inobservancia de parle de In Arrendataria en el cumplimiento de las

          garantias. aeuerdos, condiciones y estipulaciones eontenidas en este Contrato de

          Arrendamiento por un periodo de sesenta (60) dias luego de recibir eomunicaci6n

          escrita notificando stl inobservancia y fulta de curnplimiento por la Arrcndadora. No

          obstante, en easo de que In mila no se pueda coo-egir en el periodo provisto, la


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          Arrcndadora no podra negar irrazonablemente a una extension de tiempo si las

          aeeiones correetivas han eomenzado diligentemente denlro del periodo provisto

          para su eon-eccion. -------------------------------------------------------------­

          ---Seedon Diccioeho Puuto Tres (18.3) - Remedios. Si la Arrendadora ineumple

          con 10 provisto en este Contrato de Arrendamiento, la Arrendnmria tendni dereeho a: -­

          ----(1) Notifiear por eOITeO eettifieado 0 por eualquier medio fehaeiente a 18

          Arroodadora su fulta de curnplimiento, estableciendo In naturaleza de este. La

          Arrendadora tendnl la oportunidad de 50bsanar su ineumplimiento denlro de un periodo

          de treinta (30) dins a partir del reciba de la notifieacion, exceptuando aqueUns

          disposiciones especificas dictadas en el presente Contralo de Arrendarnicnto que

          obligan a In Arrendadora a aelUar en un periOOo de tres dias labombles 0 31 siguiente dia

          laborable segUn dispone 01 Contralo de Arrendamiento. -------------------------------­

          -------(2) Expiraclo el te.rrnino provisto sin que la Arrendadora haya subsnnado In

          causa de 50 incumplimiento a no proveyendo una explicacion razonable y aceptable a la

          Arrendnmria para el retraso de su eumplimiento, la Arrendamrln Ie notifieara a 1a

          Arrcndndora mediante eorreo certificado de su intendon de ejercitar 50 derecho de

          retener el Canon de Arrendamiento, excepto la porcion del Canon de Arrendamiento

          correspondiente 31 pago del financiamiento del Proyeeto (en adelante denominado

          como el "Pago del Financiamiento"). Denlro de un terrnino de cinco dias de haber

          recibido la notificaci6n a la Arrendadora de su intencion de ejercitar su derecho de

          retener el Canon de Arrendamiento, la Arrcndndora debera certificar a la

          Arrcndataria, el monto del Pago del Financiamiento de manera que, de ser

          necesario retener el Canon de Arrendamiento, se deduzca de dicha retenci6n la

          pordon correspondiente el Pago del Financiamiento.--------------------------­

          --------Luego de transcurridos quince (15) dias del recibo de la Arrcndataria de In

          notificaci6n de la intenei6n de retener el pago del Canon de Arrendamiento sin que

          la Arrcndadora haya subsanado su incumplimiento, la Arrendataria retendra los


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          pagos subsiguientes de los Canones de Arrendamiento (exceptuando Ie pordon

          correspondiente al Pago del Financiamiento) 0 una porcion de estas, segun sea el

          casa, hasta que el incumplimiento sea subsanado, provisto que ninguna Fuerza

          Mayor inhiba dicho incumplimiento.--...--...------·······---.·····-------···..···

          ········(3) Las partes contratantes eonvienen en que los pagos del Canon de

          Arrendamiento estaran sujetos a la e)(Cepeion de Fuerza Mayor y que el

          procedimiento de retencion cumpHra can 10 antes dispuesto.··················..········

          ··-Sccci6n Dieciocho Pnnto Cnatro (18.4) - Responsabilidad en Caso de Danos.

          No obstante 10 anteriormente dispuesto en cuanto a la oportunidad de la

          Arrcndadora a subsanar sU incwnplimiento, la Arrcndadora sera responsable por

          cualquier y todos los dafios que Ie oeasione a la Arrcndataria como resullado de su

          incumplimiento con las obJigacioncs establecidas en el presente conn'ato,

          exceptuando aquellas que sean causadas por FUer'L8 Mayor......•••••----------••.---­

          ..·Sceeian Diecioclao Pnnto Cinco (18.5) - Pago de Honorarios de Abogado y

          Otros Gastos. En caso de que alguna de las partes comparecientes incumpla con

          sus obligaciones y la parte afectada incurra en el pago de abogados y/o otros gaslos

          razonables para el cobro de dinero 0 el cumplimiento de ejecuci6n a sujecion a las

          obligaciones 0 convenios aqu! contenidos, la parle incumplidora convine en pagar a su

          requerimiento a la parte afeclada 0 sus agentes designados, honorarios de abogados

          razonables (independientemente de que baya 0 no mediano temeridad) y los gastos

          razonables incurridos por <ista para efectuar dicha gestion. _ ................-_...._-_.­

          ···Secci6n Dieciocho Punta Sels (18.6) - Remedios Disponibles. Ninglin remedio

          confelido en el presente contrato 0 reservado a las partes aqui dispuestas se cntiende

          exclusivo. Estos podran ser acumulativos y podran ser adicionales a cuaJesquicra

          otros remedios provistos por ley 0 equidad, incluyendo procedimiento de desahucio
                      .
          estatutariamente conferidos en la jurisdiccion del Estado Libre Asociado de Puelto

          Rico.   Ningun retraso u omision por alguna de las paries para ejercitar algun


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           derecho adquirido por el incumplimiento de la otra patte con las obligaciones aqui

           dispuestas se entendere como una concesi6n a no ejercitar sus derechos. Estos

           derechos podriin ser ejercidos con la frecuenci. que sea necesaria para despachar los

           procesos .••••••••••••••• -••--------.----.--.---.----.--------••-----.-------.-------­

                             SECCI6N DmCINUEVE (19)
                 REPRESENTACIONES Y GARANTiAS DE LA ARRENDADORA

           ---Secciiin Dieeinueve Punto Uno (19.1) - Reprcsentacioncs de In Arrendadora.

           La Arrendadora efecrua las siguientes representaciones y garant'ss, las cuales

           permaneceriin vigentes en todo momento durante al termino de eontrato de

           An-endamiento :------------------------.-.--------------.------••••• -.•.--.-------------­

           ---Sccci6n Diecinucve Punto Dos (19.2) - Existencin y Capacidad.                        La

           Arrendadora es una corporaciiin intima con fines de Incro debidamente creada bajo

  ~ las leyes de Puerto Rico, y tiene plenos paderes y capacidad para realizar· eslc
   ~ Contrato de Arrendamiento, y para Bevar a cabo sus negocios. --.-.---------------.-.
           ---Sccci6n Diccinueve Punto Trcs (19.3) - Q!:!fu!acion Viilida. Este Contrato de

           Arrendamiento constituye una obligaci6n valida para Ia Arrendadora y, en Stl caso,

           para sus sucesore. autorizados, sujeto en cuanlo a su cumplimiento en su caso a las

           leyes de quiebra y derechos de acreedores.---------------------------------------------­

           --Seccion Diecinucve Punto Cuatra (19.4) - Litigllcion/Arbitraje. Salvo por los

           caso: STZ Development Com v. Junta de Planificacion de Puerto Rico, pendiente

           ante eI Tribunal de Apelaciones de Puerto Rico, Caso Num. KPE2011-00015 y (b)

           In Re Ramhil. Developers, Inc., Caso Numero: 2002-46-00905-JPU, pendientc anle

           Ia Junta de Planificaci6n (Sobre Solicitud de Revocacion de ConsuIta de Ubicacion),

           euyas particuIaridades han sldo divulgadas runpliamente a Ia Arrendlltaria, no

           existen (a) aeciones, demandas 0 procedimientos pendiemes ante los tribunalcs u

           organismos administ!1ltivos, euasi judiciales, 0 gubernamentaIes, (b) arbitrajcs, 0 (c)

           mediaclon 0 procesos de dilucldaci6n de controversias contra Ia Arrcndadora que



                                                      4S
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          afeeten su habilidad de cumptir con sus obligadones bajo este Contrnto de

          Arrendamiento .••••••..- -•...••• --•••••••----------••-.-.-••---.-.--------------••-------­

                              SECCI6N VEINTE (20)
                REPRESENTACIONES Y GARANTiAS DE LA ARRENDATARIA

          ---Secci6n Veinte Punto Uno (20.1) - Representaciolles de la Arrendataria. La

          Arrendataria efeclua las siguientes representaciones y garaotias a la Arrendadora,

          las cuales perrnanecenin vigentes en todo momenta durante el'lermino 0 vigencia

          del Contrato de Arrendamiento:--------·····----··········......·-·-······--·....-....c·

          ---Secci6n Vein!e Punto Dos (20.2) - Autori7.aci6n V No Contravencion.                     EI

          otorgarnieoto y cumplimiento por 18 Arreodataria de 10 contemplado en eSIe

          Contrato de An'endamiento Ie ha side debidamente autorizado, y no tiene eonflictos

          con 0 violenta ningun acuerdo u obligaci6n de la Arrendataria.---·---.-......-------­

          ---Seccion Veinte Punto Tres (20.3) - Cumplimiento.                  La Arrendataria se

          mantendni en todo momento en pleno cumplimiento con sus obligaciones y los

          .cuerdas, terminos y condiciones del Contrato de Arrendamiento, aSI como COn las

          leyes, reglarnentos, ordenanzas y cualesquiera disposiciones legales aplieablcs. La

          Arrendataria tendni el derecho de euestionar titediante los procedimientos

          administrativos   0   judiciales eorrespondientes, eualquier aecion, requerimiento.

          multa, orden 0 investigaei6n inieiada, emitida 0 impuesta por las agendas

          gubemarnentaJes correspondientes.-----------·--------------·-----------------..-----.•.-.­

          ..·Secci6n Veinte Punta Cuatra (20.4) - Obllgaci6n Vnlida. Este Contrato de

          Arrendamiento constituye una obJigaci6n valida de la Arrendataria y, en su COSO,

          para sus sueesores autonzados. -----.-----....-.-------------------.-..- ..---------­

                                       SECCI6N VEINTIUNO (21)
                                          NOTIFICACIONES

          ---Secci6n Veintiuno Punto Uno (21.1) - Notificaciones. Cualquier comunieaci6n

          o notificaci6n bajo este Contrato de Arrendamiento debenl ser dada como sigue: (a)

          ala mano, 0 (b) por correo certificado con acuse de recibo. ---------------•..---------.


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          -----Las notificaciones ala Arrendatarin se enviaran a la siguiente direcci6n: -----

          HOIl. Sonia lvette Velez Colon
          Direetora Administrativa
          Oficina de Administraci6n de los Tribunales
          PO Box 190917
          San Juan, Puerto Rico, 00919-0917

          --Las notificaciones a la Arrendadorn se enviaran a la siguiente direcci6n:-------

          Lcda. Hilda Rodriguez Forteza
          Presidenta
          Ramhil Developers, Inc.
          PO Box 190573
          San Juan, Puetto Rico 00919-0573

          ----Cualquiera de 1as partes otorgantes, previa notificaci6n eScrita, podnl designar

          otras personas y direcciones a las cuales habran de dirigirse subsiguientes

          notifieaciones 0 pagos bajo este Contrato de Arrendamiento. Las partes so obUgan,

          ademas, a notificarse !Dutua y oportunamente cualquier cambio en sus direcciones

          para fines de notificaciones bajo el presente Contrato de Arrendamiento. -----------­

          -----Siempre que en este Contrato de Arrendamiento se disponga expresamente que

          una de las partes deba requerir eJ consentimiento 0 aprobaci6n escrita de la otm para

          algim fin, se entendenl que dicho consentimiento 0 aprobaci6n escrita no podra ser

          negado 0 retrasado irrazonablemente por la parte a la cual se Ie solicita su

          consentimiento 0 aprobacion eserita. ----------------------------------------------------­

                                  sEccr6N VEINTID6S (22)
                            PROCESO DE RESOLUcr6N DE DISPUTAS

          ---Seccion Veintid6s Punto Uno (22.1) - Mediaci6n y Arbitraje.                 Las partes

          acuerdan so meter cualquier disputa que sm:ia de, en conexi6n 0 en relaci6n con este

          Contrato de Arrendamiento, en primer lugar a mediaci6n y, en el caso que las partes

          no puedan resolver su disputa mediante mediaci6n, a arbitraje a llevarse a cabo en la

          ciudad de San Juan de Puerto Rico, de acuerdo con las reglas procesales de la

          American Arbitration Association y en cumplimiento con las disposiciones

          aplicables de la Ley de Arbitraje de Puerto Rico, segun enmendada y con las

          disposiciones    que    se    detallan.   a continuaci6n:-------------------------------­
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         ---Seccion Vcintidos Punto Dos (22.2) - Solicitud de Arbitraje. Cualquier parte

         podre. solicitar por escrito a la parte adversa que una controversia respeclo a la cual

         no 11n padida, !legar a un acuerda sea sametida It arbitraje. Debere. identifiear de

          forma precisa COli! es In controversia a someterse al arbitraje en cuestion. ------­

         ---Seccion Veintidos Punto Tres (22.3) - Panel de Arbitraje. El panel de arbitraje

          estar';' oompuesto por tres (3) arbitros. Cada parte nombrara un arbitro que formanl

         parte del panel de arbitraje y dichos arbitros a su vez nambranin a un tercer arbitro

         por acuerdo. Si las partes no nombran un itrbitra denlro de los primeros lreinla (30)

          dias de la solicitud para arbitraje 0 si los arbitros nombrados por dichas partes no se

         ponen de acuerdo respeclo al tercer arbitro dentro de los primeros treinta (30) dins

         de nombrados los primeros dos itrbitros, cuaJquiera de las partes podra solicitar aJ

         Tribunal de Primera Instancia, Sala Superior de San Juan, que nombre los arbitros

         necesarios para completar eJ panel de arbitraje. -------------------------------------­

         ---Seccion Veintidos Punto Cuatro (22.4) - Proeedimiento de Arbitraje.                 El

         panel de arbitraje estableceni los proc~imientos para atender la controversia

         sometida por las partes y podni utilizar como guis las Reglas de Procedimiento Civil

         aplicables. -,-----------------------------------------------------------------------­

         -----El panel de arbitraje debera Jlevar un record de los procedimientos de arbitraje

         que pueda utilizarse para revision judicial de ser la misma solicitada por cualquiera

         de las partes. --------------------------------------------------------~------------

         ---Las decisiones interlocutorias del panel de arbitraje no estaran sujetas a revisi6n

         judicial interlocutoriamente, pero pod ran ser invocadas para cuestionar I. decision

         final del panel, si dicha decision interlocutoria es erronca y perjurlicial a cualquiera

         de las partes. ------------------------------------------------------------------------­

         ---La vista en su fondo ante el panel de arbitraje se conducire. de manera infonl1al.

         EI panel de arbitraje podrll. usar, a su discrecion, como gula los principios

         fundamentales de las Reglas de Evidencia en la medida en que 10 considere


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          necesario... -~----------------~--- .. ---------------~"--~-.. ~--------------------------------

          -----EI panel de arbitraje emitira una decision fundamentad. en los hechos y el

          derecho "plicable y notificarala misma a los representantes de las partes. ---.---.--.•

          ---Sccei6n Veintidos Punto Cinco (22.5) - Revision JUdicial.                   Cualquier parte

          adversamente afectada por el laude de arbitraje podra solicitar la revision judicial

          mediante I. presentacion de una aecion civil ante el Tribunal de Primera lnstaneia,

          Sala Superior San Juan, en un plazo de treinta (30) dias a partir de la notifieacion

          del laudo. EI plaza para recurrir en revision judicial sera de caducidad y, por 10

          tanto, no podra ser interrumpido mediante modones posteriores a la notificacion del

          laudo. ---.------.--:------••-------•...----.------.------.•• ----------.-.--------.-.-----­

          -----EI Tribunal revisara el laudo a base del expediente ante el panel de arbitraje

          para determinar si el mismo es conforme a derecho en sus determinaciones de

          heehos, conelusiones de derecho y remedio concedido. ---------••-----------------­

          ---·-El tribunal dictara sentencia confirmando 0 revocando total 0 parcial mente el

          laudo, pod"i asimismo, modificar ellaudo 0 devolver eJ asunto al paoel de arbitraje

         para procedimientos ulte~iores.--·-·------·----·--------·---------------------------------.-

          -·---La decisi6n del tribunal estara sujeta a revision judicial al igual que otras

          sentencias del Tribunal de Primera lnstancia. ---.----.------.--.--.----------.---.--­

         ----Scecion Vcintid6s Punto Seis (22.6) - Costas y Hononlrios.                      EI panel de

         nrbitraje impondra las costas a la parte perdidosa y podra imponer honorarios de

          abogados razonables a la parte que haya incurrido en temeridad. --.----.-.-----.••----­

                                       SECCION VEINTITRES (23)
                                      DISPOSICIONES GENERALES

         --Sceci6n Veinlitres Punta Uno (23.1) - lncxistcncin de Sociednd 0 Empresa

         Cooiunta ("Joint Venture").               Nada de 10 contenido en este Contrato de

         Arrendamiento constituinl. 0 se interpretara como que establece una sociedad 0

         empresa eonjunta entre la Arrendalaria y la Arrendadora, ni como que conviertc

         a cad a parte respect iva mente en agente 0 representante del otro ...---·-_·---·-···--­
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           --Seed6n Vcintitres Punto Dos (23.2) - Aplicabilidad de las Lcyes de Puerto

           Rico, Separabilidad. Este Contralo de Arrendamienlo ylo sus disposiciones se

           regiran par las leyes del Estado Libre Asociado de Puerto Rico.              Si cualquier

           termina, chlusula, acuerdo 0 condici6n, 0 su aplicaci6n, fuera declarada ilegal 0

           ineficaz par autoridad competente, entonces todos los demas terminos, c!ausulas,

           acuerdos a condiciones de oste Contrato de Arrendamiento, a su aplicacion de otra

           manera, no seran afectadas y pennanecer"" con plena validez, vigencia y vigor. --­

           ---Secci6n Vein tit res Punto Tres (23.3) - Conflicto de lntercscs.                Ning(m

           miembro, representante, empleado 0 consultor de la Arrcndataria lendra inlen!s

           personal, directo 0 indirecto en este Contralo de Arrendamiento, ni p~rlicipan\ en

           decision alguha concemienle a esle Contrato de Arrendamienlo que tenga reladon

 i~ , con sus intereses personales con el inleres de alguna enlidad en la cual diehas
                                           0


  ~ personas tengan intereses ya sea directa indirectamente.-------------------------­
                                                      0


           ---Seccion Veintitrcs Punto Cuatro (23.4) - Sucesorcs y/o Ccsionarios. Todos

           los acuerdos, terminos, obligaciones ylo condiciones en esle Contrato de

           Arrendamiento seran obligatorios y/o beneficial'an a los sucesores 0 cesionarios en

           su caso, de la Arrcndataria, y a los sucesores autorizados de la Arrendadora. ----­

           ---Sceeion Veintitrcs Pnnto Cinco (23.5) - Litigaci6n con cJ Estado Librc

           Asociado. La Arrcndadora eertifiea que, al momento de la ejecueion de este

           Contrato de Arrendamienlo, no tiene litigaeion alguna contra la Arrendataria, el

           Estada Libre Asociado, sus agel)cias a instl1lmentalidades.-------------"----------­

           ---Seeci6n Vcintitrcs Punto Scis (23.6) - Intcrcses Economicos dc Empleados

           Gubernamcntales. La Arrcndadora certifiea que, al momento dcl otorgamiento

           de este Contrato de Arrendamiento, no tiene interes particular alguno en ningun

           easo a asunto que envuelva conflieta de intereses 0 de poUtiea publica, y no

           aeeptara ningun aeuerdo de indole alguna que pueda ocasionar un eonflicto de

           intereses 0 de polftica publica con la Arrendataria.-------------------------------------­

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                                                                                .~.




          ····---La Arrendadora certifica que, a1 momento del olorgamiento de este

          Conlrnto de Arrendarniento, ningim olicial 0 empleado publico con facultad para

          evaluar, considernr, aprobar autorizar 0 ejecutar este Contrato de Arrendamicnto a

          nombre de la Arrendataria, ni ningun miembro de su unidad familiar, tiene 0 ba

          tenido durante los pasados cuatro (4) anos antes de lomar posesian de su puesto,

          Interes pecunlal'io direeto 0 Indireeto con 1a Arrendadora 0 en ninguna de sus

          subsidiarias, entidad maltiz 0 sus oliciales. -••••••••----------••••--.-.-••--------.-•.••••

          ·------La Arrendadora certiliea por sl. sus soclos, agentes 0 empleados, 0

          cualquier miembl'O de su unidad familiar, segun esta se define en la Ley Num. 12 de

          24 de julio de 1985, segUn enmendada, que al momenta del otorgamiento de esIC

          Contralo de Arrendarniento, ellos no ocuparon ningun puesto como empleados de In

          Arrendataria durante los dos (2) afios antedores a la firma de este Contralo de

          Arrendamiento.·-----·-·······-·--·------------------------••--------------------••••••

          --------La Arrendadora certifica par sl, sus socios, agenles 0 empleados, que al

          momenta del otorgarniento de esle Contrato de Arrendamiento. ningun oficlal 0

          empleado publico de la Administraei6n, 0 ningtin miembro de su unidad [amil iar,

          segun esta se define en la Ley Num. 12 de 24 de julio de 1985, segun enmendada.

          tiene 0 ha tenido durante los ultlmos cuatro (4) anos antes de ocupar el puesto.

          interes peeuniario directo 0 indirecto con la Arrendadora y que no conoce de

          ningiin empJeado del Estado Libre Asoeiado que sea parte 0 tenga interes alguno en

          las ganancias 0 beneficios de esIC Contrato de Arrendamiento. -----••••••••••••-----­

          ···Secci6n Vcintitrcs Punto Siete (23.7) - Conviccioncs Criminales.                       La

          Arrendadora certifiea y garantiza que, al otorgamiento de este Contrato de

          Arrendarniento, ni la Arrendadora, ni ninguno de sus socios, directores. oficiales 0

          cmpleados gerenciales. han sido eoovictos, y la Arrcndadora                        00   tiene

          conocimiento de clio 0 de que ninguna de dichas personas hayan sido iovestigadas,

          acusadas 0 convictas en un proceso criminal en una e01ie estatal 0 federal por cargos

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          criminales relacionados al.erario publico. I. confianza publica. una funcion pllblica.

          o una falta que envuelva el real usa de fondos 0 propiedad publica. 0 por cualquiera

          de los delitos graves 0 menos graves mencianados en la Ley Num. 428 de 22 de

          septiembre de 2004.      Se recOnOce expresamenle que esla cel1ificaci6n es una

          candici6n esencial de esle Contrato de Arrendamienlo. Si la certifieaei6n fuera

          falsa. ello constitoira causa suficienle para faeultar a la Al'rcndataria a terminar

          este Contralo de Arrendamiento inmedialamente. y, si dicha eonviccion estuviel'lI

          relacionada a esta transaccion en particular. la Arrendataria lendre derecho a

          requerirle a la Arrendndora que Ie reembolse cualquiera canlidad de dinero que

          Imbiera recibido de la Arrendataria bajo este Contralo de Arrendamicnlo. -.------­

          ·-·--Si I. condici6n de la Arrcndadora 0 sus socios. direclores, olieiales 0

          empleados gerenciales con relacion a las convicciones eriminales anlcs

          mencionadas en esla chiusula, cambiaran en cualquier momento duranle el termino

          de   eSle   Contralo   de    Arrendamiento,     Ia   Arrendatarin     sera   notilicada

          inmediatamenle. El ineumplimienlo con dicha obligaci6n de nolifiear constituira

          una violacion de esla ehlusula. y resullalli en Ia terminacion de este Contralo de

          Arrendamienlo...-.....---------------.....--------------.......-------------........-.­

          ---Seccion Veintitres Punto Ocho (23.8) - Plan ilia de ContribuciOn sobre

          Ingresos.   La Arrendadora certifiea que at otargamienlo de este Conlralo de

          Arrendamiento, ha sometido todas las planillas de eontribucion sobre ingresos

          requeridas en Puerto Rico durante los pasados cinco (5) anos y que ni Ia

          Arrendadora ni sus principales tienen Deuda Conlribuliva alguna (seg(m. aqui

          definido) con 01 ESlado Libre Asociado. 0, si existiera dicha deuda, la misma esm

          sujela a un plan de pago aprobado por la agenda gubernamental eorrespondiente y

          que Ia Al'rendadora 0 sus ·principale•• segUn sea el caso, esta al dia bajo los

          terminos de clieho pian de pago. Para prop6sitos de esle Contrato de Arrendamienlo,

          una Deuda Contribuliva signifiea cualquier deuda por ingresos, arbitl'io.


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               contribuciones sobre la propiedad (mueble 0 inmueble), tasaclones especiales,

               tarifas por licencias, y contribuci6n retenida segun requerida par ley, desempleo,

               ineapacidad y segura choferil (si apliea) .•••-----------.-------------------------------­

               ---Seed6n Veintitres Punto Nueve (23.9) • Sumisi6n de Certifieados.                     La

               Arrendadora someti6 a la Arrcndataria, previo a la firma de este Contrato de

               Arrendarniento, la Certificaci6n de Radieaci6n de Planilla por los ultimos cinco (5)

               afios, una Certificaci6n de Deuda, expedida por el Depaliamento de Hacienda,'y las

               correspondientes certificaciones de deudas expedidas pOl' el Centro de Recaudacion

               de Ingresos Municipales (CRIM), COn respecto al Desarrollador del Departamento

               del Trabajo y Reeursos Humanos concernientes a desempleo, incapacidad y segW'o

               choferil, Fondo del Seguro del Estado, Administracl6n para el sustcnto de Menore.

               (ASUME), y por la Municipalidad eorrespondiente. ------------------------------­

               ---Seeei6n Veintitres Punto Dicz (23.10) - Deud. Contributiv. bajo Revision 0

               Su jeln a Ajuste. La Arrendadora certifica que ni ella ni sus principales tienen

               actualmente ninguna Deuda Contributiva que est" siendo revisada 0 sujeta a ajuste

               par el Depaltarnento de Hacienda del Estado Ubre Asociado. --------------------­

               ---Seecion Vcintitrcs Punto Once (23.11) - Documentos de la Entidad.                    La

               Arrendadora ha sometido los aliiculos de incorporacion y los estatutos ("By­

               Laws") de la corporacion, asf como un certifieado de buena pro ("Good Standing")

               expedido por del Departamento de Estado del Estado Libre Asodado de Puerto

               Rico. -----------------------------------------------------------------------­

               ---Sccci6n Veintitres Punlo Dace (23.12) - Acuerdo Total. Este Conlrato de

               Arrendamiento y aquellos documentos en 61 mencianados, contienen la totalidad de

               los acuerdos entre las partes, los cuales san las (micos acuerdos vigentes y validos

               entre las partes.    Los acuerdas, terminos a condiciones de este Contrato de

               Arrendamiento solo podran ser enmendadas a                   madiflcados mediante el

               eansentimiento exprcso y escrito de las partes. Se ineorporan por referenda y se


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         hacen fonnar pafte de este contrato lodos los Anejos y Exhibits que se mencionan en este

         Contl'ato de An-endamiento_ ---------------------------------------- ----------------­

         ---Am bas Partes manifiestan que han leido y entendido todo el contenido del

         presente Contrato de Arrendamiento y asl 10 aceptan por encontral' que est';

         redactado a su entera satisfacci6n y que este establece fielmente 10 paclado. -------­

         ---PARA QUE Asi CONSTE, las partes suscriben el presente contralo, con SlI

         firma e iniciales en el margen Izquierdo de cada una de SllS paginas.-----------------­

         -En San Juan, Puerto Rico a 27 de mayo de 20 II .....-.------------------------------




                                                            Presidenta
                                                            Ramhil Developers. Inc.




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